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               EXHIBIT A
                PART 5
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                                                                           Volcano

          Download the app for your computer. All machines ‐ always available.                               DOWNLOAD




                      crack the jackpot                                                                             WIN NOW


                   8 676 110 РУБ                                                                           shura.k **            3000 rub


                        ALL GAMES                                                 To bookmarks                      SIGN IN

                   Game room                 Points         Lo℀ጅery       Jackpots               Bonuses        Score       Download Volcano




                                check in                              INTERNET SHOP ONLINE CASINO VOLCANO
                             Email


                             Пароль

                        I accept the terms and condi℀甄ons

                        Remember me


                                  Sign up

                                 Login with:
                                                                                     DIAMOND LEVEL
                        I am already registered Login



                                                                          Vertu Signature ...                      Men's Wrist Wat...

                                                                            11890 points                                8700 points



                                                                                 BUY                                       BUY



                                     MORE
                                                                          AQUA TERRA 15...                         Women's Wrist ...

                                                                             8100 points                                6135 points
   24/7
SUPPORT




                                                                                 BUY                                       BUY



                                                                                      Pla℀甄num Level



                                                                          TAG Heuer Gran...                        Earrings with to...

                                                                             5690 points                                5635 points
https://vulcan­club­online.com/shop                                                                                                            1/7
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                                                                        Volcano




                                                                 BUY                             BUY



                                                          Cuﬄinks with di...

                                                             5155 points



                                                                 BUY



                                                                       GOLD LEVEL



                                                          Vertu Ascent Ti                iMac 27 '' Re℀甄na...

                                                             3590 points                    2890 points



                                                                 BUY                             BUY



                                                          3D LED TV Sony ...             iPad Pro 9,7 '' 25...

                                                             2800 points                    1225 points



                                                                 BUY                             BUY



                                                          MacBook Air 20...              Apple iPhone 6s ...

                                                             1130 points                    1075 points
   24/7


                                                                 BUY                             BUY
SUPPORT




                                                          Canon EOS 750D                 Robot vacuum cl...

                                                              995 points                     875 points




https://vulcan­club­online.com/shop                                                                              2/7
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                                                                        Volcano


                                                                 BUY                            BUY

                                                          Samsung Galaxy ...             Samsung SM‐N9...

                                                              700 points                     665 points



                                                                 BUY                            BUY



                                                          iPad Air                       Portable speaker...

                                                              620 points                     595 points



                                                                 BUY                            BUY



                                                          iPad mini on Apr...            iPhone SE 16GB

                                                              545 points                     525 points



                                                                 BUY                            BUY



                                                                      SILVER LEVEL



                                                          Sony Xperia Z3 C...            Canon EOS 1200...

                                                              490 points                     435 points



                                                                 BUY                            BUY
   24/7
SUPPORT




                                                          Set DeLonghi                   Lenovo IdeaPad ...

                                                              415 points                     365 points



                                                                 BUY                            BUY



https://vulcan­club­online.com/shop                                                                            3/7
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                                                                        Volcano




                                                          Headphones Be...               Alcatel OT‐6045...

                                                              310 points                     275 points



                                                                 BUY                            BUY



                                                          MP3 player Cow...              Telescope Celest...

                                                              270 points                     230 points



                                                                 BUY                            BUY



                                                          Sony SmartWatc...              Avtomagnitola P...

                                                              210 points                     205 points



                                                                 BUY                            BUY



                                                          Monitor LG 24M...              Epson Expressio...

                                                              200 points                     165 points



                                                                 BUY                            BUY



                                                          RugGear Explore...             RugGear RG150 ...

   24/7
                                                              165 points                     160 points
SUPPORT




                                                                 BUY                            BUY



                                                          Mul℀甄varka Vitek...            Breadmaker Red...

                                                              140 points                     135 points




https://vulcan­club­online.com/shop                                                                            4/7
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                                                                        Volcano


                                                                  BUY                            BUY


                                                          Electric driers fo...          DVR HP f210b

                                                              130 points                     130 points



                                                                  BUY                            BUY



                                                          USB ﬂash drive 8...            Humidiﬁer Red...

                                                              115 points                     115 points



                                                                  BUY                            BUY



                                                          Pres℀甄gio Mul℀甄P...            Juicer Vitek VT‐1...

                                                              110 points                      90 points



                                                                  BUY                            BUY



                                                          Elari CardPhone                Aerogrill First FA...

                                                               85 points                      80 points



                                                                  BUY                            BUY


   24/7
SUPPORT




                                                          iPod shuﬄe                     Ovens

                                                               75 points                      60 points



                                                                  BUY                            BUY



                                                          Cooler bag Eze℀甄l
https://vulcan­club­online.com/shop                                                                              5/7
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                                                                        Volcano


                                                              60 points



                                                                 BUY


                                                                     BRONZE LEVEL



                                                          Bluetooth Heads...             Nokia 108

                                                              45 points                      40 points



                                                                 BUY                            BUY



                                                          Senseit L108                   Talking Hamster

                                                              40 points                     thirty points



                                                                 BUY                            BUY



                                                          Clock radio Vitek...           Steamer Zimber ...

                                                             thirty points                   20 points



                                                                 BUY                            BUY




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SUPPORT




https://vulcan­club­online.com/shop                                                                           6/7
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                                                                           Volcano




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                   crack the jackpot                                                                                                        WIN NOW


                8 676 389 РУБ                                                                                                    Cyril **            3000 rub


                      ALL GAMES                                                                         To bookmarks                        SIGN IN

                Game room                  Points                Lo㏦케ery                   Jackpots                    Bonuses        Score     Download Volcano




                              check in                                                         DOWNLOAD SLOTS VOLCANO
                           Email
                                                           Download Slots Volcano on your computer or laptop ‐ it's convenient and easy way to get the
                                                           maximum bonus, stock informa㵢㿙on, and prompt feedback to the casino. All slot machines and
                           Пароль                          other games will be available at any 㵢㿙me on your desktop.
                      I accept the terms and condi㵢㿙ons    Just a few steps separate you from uninterrupted access to your favorite slots. Detailed
                      Remember me                          instruc㵢㿙ons will quickly ﬁgure out how to download the gambling machines and install the
                                                           applica㵢㿙on. All ac㵢㿙vi㵢㿙es will take from 1 to 5 minutes.

                                Sign up

                               Login with:


                      I am already registered Login
                                                                                                               DOWNLOAD



                                                                         INSTRUCTIONS FOR INSTALLING THE APPLICATION:
                                                           Installing client casinos provide you with secure access to all the games from your computer at any
                                                           㵢㿙me. Follow the simple installa㵢㿙on instruc㵢㿙ons customer and enjoy the gambling club in Volcano.

                                                                 Installing Windows applica㵢㿙ons
                                                           Help to install applica㵢㿙ons for Windows


                             PARTICIPATE
                                PLAY                                                 DOWNLOAD AND INSTALL THE PLUGIN
                                                          Your browser




                                                               CHROME                    FIREFOX                  OPERA          EXPLORER      SAFARI
                                                                 INSTALL                   INSTALL                INSTALL         INSTALL       INSTALL


                                                                           FOR INSTRUCTIONS ON INSTALLING THE PLUGIN:
                                                               Install Chrome plugin
                                                          Help to install the plug‐in Chrome browser

                                                               Installing Firefox plugin
                                                          Help to install the plug‐in Firefox browser

https://vulcan­club­online.com/client                                                                                                                              1/3
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                                                Document        1-6on the
                                                      slot machines    Filed   01/03/17
                                                                          computer Volcano Page 10 of 52
                                                  Installing Opera plugin
                                             Help to install the plug‐in Opera browser

                                                  Installing Internet Explorer plug‐in
                                             Help to install the plugin in Internet Explorer browser

                                                  Installing Safari plugin
                                             Help to install the plug‐in Safari browser



                                                      THE MAIN ADVANTAGES OF THE APPLICATION VOLCANO
                                             Casino Vulcan has developed its own applica㵢㿙on for the computer to provide uninterrupted access
                                             to our online casino. The "casino on the computer" we have retained all of the website
                                             func㵢㿙onality, and expanded opportuni㵢㿙es for the players.

                                             Record in the downloadable casino account or Login to your account, manage your account, play
                                             in any free cell phones, as well as make real bets and win!


                                                                                  WHY DOWNLOAD THE APP?
                                             Main advantages:
                                                1. Uninterrupted access to the online casino Volcano.
                                                2. Download Casino faster.
                                                3. Full security of personal data.

                                             Download Slots Volcano on the PC ‐ the right decision, which gives access to all the resources of
                                             our ins㵢㿙tu㵢㿙on.



                                                                        WHY THE NEED FOR PLUG-IN VOLCANO
                                                                                               If you can not go to the casino site Volcano, the special
                                                                                               plug‐in for the browser will solve this problem in a jiﬀy.

                                                                                               See detailed instruc㵢㿙ons for installing the plugin, who
                                                                                               painted all popular browsers. Installa㵢㿙on takes less than a
                                                                                               minute.

                                                                                               Also, for stable access to slot machines, you can use one of
                                                                                               the following op㵢㿙ons:
                                                                                                        ac㵢㿙vate the special regime "Turbo" in Yandex
                                                                                                        browser and Opera;

                                                                                                       use a new user‐friendly browser Tor.




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      WIPO Arbitration and Mediation Center

      ADMINISTRATIVE PANEL DECISION

      Ritzio Purchase Limited v. Whoisguard Protected, Whoisguard, Inc / Zhoselin­
      Patrick Mandzela

      Case No. D2015­0295
      1. The Parties

      The Complainant is Ritzio Purchase Limited of Nicosia, Cyprus, represented by Mapa Trademarks SL, Spain.

      The Respondent is Whoisguard Protected, Whoisguard, Inc of Panama, Panama / Zhoselin­Patrick Mandzela of
      Vernon, France.

      2. The Domain Name and Registrar

      The disputed domain name <volcano­online.com> is registered with eNom (the "Registrar").

      3. Procedural History

      The Complaint was filed with the WIPO Arbitration and Mediation Center (the "Center") on February 23, 2015.
      On February 24, 2015, the Center transmitted by email to the Registrar a request for registrar verification in
      connection with the disputed domain name. On February 26, 2015, the Registrar transmitted by email to the
      Center its verification response disclosing registrant and contact information for the disputed domain name
      which differed from the named Respondent and contact information in the Complaint. The Center sent an email
      communication to the Complainant on February 27, 2015 providing the registrant and contact information
      disclosed by the Registrar, and inviting the Complainant to submit an amendment to the Complaint. The
      Complainant filed an amendment to the Complaint on February 27, 2015.

      The Center verified that the Complaint together with the amendment to the Complaint satisfied the formal
      requirements of the Uniform Domain Name Dispute Resolution Policy (the "Policy" or "UDRP"), the Rules for
      Uniform Domain Name Dispute Resolution Policy (the "Rules"), and the WIPO Supplemental Rules for Uniform
      Domain Name Dispute Resolution Policy (the "Supplemental Rules").

      In accordance with the Rules, paragraphs 2(a) and 4(a), the Center formally notified the Respondent of the
      Complaint, and the proceedings commenced on March 2, 2015. In accordance with the Rules, paragraph 5(a),
      the due date for Response was March 22, 2015. The Respondent was filed an informal Response with the Center
      on March 20, 2015, and with a subsequent email dated March 25, 2015, the Respondent confirmed that its
      submission of March 20, 2015 contained all the information that it intended to provide.

      The Center appointed Assen Alexiev as the sole panelist in this matter on March 27, 2015. The Panel finds that
      it was properly constituted. The Panel has submitted the Statement of Acceptance and Declaration of
      Impartiality and Independence, as required by the Center to ensure compliance with the Rules, paragraph 7.

      4. Factual Background




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      The Complainant is part of the Ritzio International Group, which has offered gaming, casino and entertainment
      products and services under the Вулкан and Vulkan brands for more than 20 years. Ritzio is one of the leading
      gaming operators with more than 200 branded gaming clubs and more than 5,800 gaming machines deployed
      throughout Europe. The Group has more than 2,000 employees, and operates in Germany, Romania, Latvia,
      Belarus, Croatia and Italy. Between 2006 and 2010, Ritzio's operating revenue was in excess of USD 5.5 billion.

      The Complainant is the owner of a number of trademark registrations containing the term Вулкан, Vulkan, or
      Volcano (the "VOLCANO trademark"), including the following registrations:

      ­ the word trademark VOLCANO with registration number 307879, registered on June 2, 2006 in the Russian
      Federation for goods and services in International Classes 09, 16, 21, 28, 35, 38, 39, 41, 42, 43 and 45;

      ­ the combined trademark ВУЛКАН ("VULKAN" in Latin transliteration) with a lightning bolt logo, with
      registration number 342290, registered on January 28, 2008 in the Russian Federation for goods and services in
      International Classes 03, 09, 16, 18, 21, 24, 25, 26, 27, 28, 30, 32, 33, 34, 35, 36, 37, 38, 39, 41, 42, 43 and 45;

      ­ the word trademark VOLCANO with registration number IR 989103, registered as an International trademark
      on August 11, 2008 for goods and services in International Classes 09, 16, 21, 25, 28, 35, 38, 39, 41, 42, 43 and
      45;

      ­ the word trademark VULKAN with registration number IR 984297, registered as an International trademark
      on August 11, 2008 for goods and services in International Classes 09, 16, 21, 28, 32, 35, 38, 39, 41, 42, 43 and
      45; and

      ­ the combined trademark ВУЛКАН ("VULKAN" in Latin transliteration) with registration number IR 791038,
      registered as an International trademark on September 3, 2002 for services in International Class 41.

      The disputed domain name was registered on March 7, 2013 and is linked to a website offering online gambling
      and casino services.

      5. Parties' Contentions

      A. The Complainant
      The Complainant contends that its VOLCANO trademark enjoys a worldwide reputation in connection with
      high quality products and services in the gaming and entertainment industries. According to the Complainant,
      the disputed domain name is confusingly similar to the VOLCANO trademarks, as it fully incorporates the
      VOLCANO word element. The only difference is the addition of the descriptive word "online" which is not
      distinctive. The website at the disputed domain name copies the design of the Complainant's ВУЛКАН
      ("VULKAN" in Latin transliteration) trademark, which makes it likely that Internet users may be confused into
      believing that there is some relation between the Respondent and the Complainant when no such relation
      exists.

      The Complainant submits that the Respondent has no rights or legitimate interests in the disputed domain
      name. The Complainant has not authorized the Respondent to use the VOLCANO trademark. The Complainant
      has commenced to use the VOLCANO trademark about 20 years before the registration of the disputed domain
      name in 2013. The disputed domain name is not derived from the Respondent's name, and the Respondent
      does not appear to hold any trademark rights for it. The Complainant points out that the Respondent is using
      the disputed domain name for a website that offers online gaming services which are not authorized by the
      Complainant. The Respondent's website copies the look and feel of the Complainant's gaming clubs, copies the
      Вулкан ("VULKAN" in Latin transliteration) trademark with lightning bolt logo exactly, and misrepresents that
      the disputed domain name and the website associated to it are affiliated to the Complainant. The Respondent
      attempts to benefit from the goodwill of the VOLCANO trademarks, and its conduct is not a bona fide offering of
      goods or services for the purposes of the Policy.




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      The Complainant contends that the disputed domain name was registered and is being used in bad faith. The
      Respondent was aware of the VOLCANO trademarks when it registered the disputed domain name, because the
      website at the disputed domain name copies the design of the VOLCANO trademarks and offers identical
      services to the services offered by the Complainant under the VOLCANO trademark. By using the
      Complainant's VOLCANO trademark, the Respondent has intentionally attempted to attract, for commercial
      gain, Internet users to the website at the disputed domain name by creating a likelihood of confusion.

      B. The Respondent
      The Respondent did not submit a formal Response in this proceeding. The only statement made by it is that
      after the submission of the Complaint, the Respondent has removed from the website at the disputed domain
      name the content described in the Complaint, and that the website is now "used by [the Respondent's] partners
      for commercial purposes and doesn't infringe any intellectual rights".

      6. Discussion and Findings

      Pursuant to Policy, paragraph 4(a), the Complainant must prove each of the following to justify the transfer of
      the disputed domain name:

      (i) the disputed domain name is identical or confusingly similar to a trademark or service mark in which the
      Complainant has rights; and

      (ii) the Respondent has no rights or legitimate interests in respect of the disputed domain name; and

      (iii) the Respondent has registered and is using the disputed domain name in bad faith.

      In this case, the Center has employed the required measures to achieve actual notice of the Complaint to the
      Respondent, in compliance with Rules, paragraph 2(a), and the Respondent was given a fair opportunity to
      present its case.

      By Rules, paragraph 5(b)(i), it is expected of a respondent to: "[r]espond specifically to the statements and
      allegations contained in the complaint and include any and all bases for the Respondent (domain name holder)
      to retain registration and use of the disputed domain name…"

      A. Identical or Confusingly Similar
      The Complainant has provided evidence and has thus established its trademark rights in the VOLCANO
      trademark. The Panel notes that the trademarks referred to by the Complainant contain either the word element
      "volcano", or the word element "вулкан" or "vulkan", which means "volcano" in Russian and in other languages.
      Therefore, these trademarks can be regarded as protecting essentially the same concept with different language
      localizations.

      The Panel notes that there is a common practice under the Policy to disregard in appropriate circumstances the
      generic Top­Level Domain ("gTLD") such as ".com" for the purposes of the comparison under the Policy,
      paragraph 4(a)(i). Therefore, the relevant part of the disputed domain name that has to be analyzed is its
      "volcano­online" section, which is a combination of the elements "volcano" and "online". The first of these
      elements is identical to the Complainant's VOLCANO word trademark and confusingly similar to the
      Complainant's ВУЛКАН and VULKAN trademarks. The second element is descriptive of the online offering of
      products and services, and thus do not render the disputed domain name dissimilar to the VOLCANO
      trademark. Rather, it is more likely that Internet users would mistakenly regard the disputed domain name as
      related to the Complainant's business and to the products and services it offers to customers.

      For these reasons, the Panel finds that the disputed domain name is confusingly similar to the VOLCANO
      trademark in which the Complainant has rights, and the Complainant has established the first element of
      paragraph 4(a) of the Policy in relation to the disputed domain name.



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      B. Rights or Legitimate Interests
      The Complainant is required to make at least a prima facie showing that the Respondent has no rights or
      legitimate interests in the disputed domain name. Once the Complainant makes such a showing, the
      Respondent may provide evidence to demonstrate that it has rights or legitimate interests in the disputed
      domain name. The burden of proof, however, always remains on the Complainant to establish that the
      Respondent lacks rights or legitimate interests in the disputed domain name. See paragraph 2.1 of the WIPO
      Overview of WIPO Panel Views on Selected UDRP Questions, Second Edition ("WIPO Overview 2.0").

      The Complainant has contended that the Respondent has no rights or legitimate interests in the disputed
      domain name, stating that it is not authorized or licensed to use the VOLCANO trademark, that there is no
      relationship between the Complainant and the Respondent, and that the disputed domain name is used for a
      website that copies the Complainant's VOLCANO trademarks and the design of the Complainant's website, and
      offers services that compete with those of the Complainant, misrepresenting that this website is related to the
      Complainant. Thus, the Complainant has established a prima facie case that Respondent lacks rights or
      legitimate interests in the disputed domain name.

      The Respondent, although given a fair opportunity to do so, chose not to present to the Panel a formal response
      in accordance with the Rules, paragraph 5(b)(i) and 5(b)(ix), despite the consequences that the Panel may
      extract from the fact of a default (Rules, paragraph 14). If the Respondent had any legitimate reason for the
      registration and use of the disputed domain name, it could have brought it to the attention of the Panel. In
      particular, the Respondent has failed to deny the contentions of the Complainant and to contend that any of
      the circumstances described in Policy, paragraph 4(c), is present in its favor. The only statement made by the
      Respondent was that it had replaced the content of the website at the disputed domain name with other
      content. Notably, the Respondent has not denied any of the statements made in the Complaint.

      In this situation, the only information available about the Respondent is the contentions of the Complainant
      and the evidence submitted with the Complaint, the WhoIs information for the disputed domain name,
      provided by the Registrar and the content of the website at the disputed domain name. The WhoIs information
      for the disputed domain name contains no indication that the Respondent is or has been commonly known by
      the disputed domain name. The disputed domain name itself is confusingly similar to the VOLCANO
      trademark of the Complainant, which was registered and used long before the registration of the disputed
      domain name. As contended by the Complainant and undisputed by the Respondent, the Respondent has used
      the disputed domain name for a website that copies the Complainant's VOLCANO trademarks and the design
      of the Complainant's website, and offers services that compete with those of the Complainant, while
      misrepresenting that this website is somehow related to the Complainant. In this situation, it is more likely
      than not that Internet users may be confused as to the source of services offered on the Respondent's website or
      led to wrongly believe that the Respondent's website is related to or endorsed by the Complainant.

      In the Panel's view, these circumstances show that the Respondent must have been well aware of the
      Complainant and of its VOLCANO trademark when the disputed domain name was registered. The registration
      and use of the disputed domain name took place without the consent of the Complainant. The Panel finds it
      more likely than not that this registration was made in an attempt to benefit from the reputation of the
      VOLCANO trademark to attract customers to the Respondent's website and then offer them services that
      compete with the Complainant's products and services. The Panel is of the opinion that such conduct cannot
      give rise to rights or legitimate interests in the disputed domain name, and finds that the Complainant's prima
      facie case has not been rebutted. Therefore, the Panel finds that the Respondent has no rights or legitimate
      interests in the disputed domain name.

      C. Registered and Used in Bad Faith
      Paragraph 4(b) of the Policy lists four illustrative alternative circumstances that shall be evidence of the
      registration and use of a domain name in bad faith by a respondent, namely:




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      "(i) circumstances indicating that you have registered or you have acquired the domain name primarily for the
      purpose of selling, renting, or otherwise transferring the domain name registration to the complainant who is
      the owner of the trademark or service mark or to a competitor of that complainant, for valuable consideration in
      excess of your documented out of pocket costs directly related to the domain name; or

      (ii) you have registered the domain name in order to prevent the owner of the trademark or service mark from
      reflecting the mark in a corresponding domain name, provided that you have engaged in a pattern of such
      conduct; or

      (iii) you have registered the domain name primarily for the purpose of disrupting the business of a competitor;
      or

      (iv) by using the domain name, you have intentionally attempted to attract, for commercial gain, Internet users
      to your web site or other on­line location, by creating a likelihood of confusion with the complainant's mark as
      to the source, sponsorship, affiliation, or endorsement of your website or location or of a product or service on
      your website or location."

      The provisions of paragraph 4(b) of the Policy are without limitation, and bad faith registration and use may be
      found on grounds otherwise satisfactory to the Panel.

      The Complainant has provided evidence of the scope of its activities internationally. The disputed domain
      name is confusingly similar to the VOLCANO trademark and was registered without the consent of the
      Complainant, and the Respondent has failed to show any rights or legitimate interests in it. The VOLCANO
      trademark of the Complainant was registered and used long before the registration of the disputed domain
      name, and the website at the disputed domain name was linked to a website that copies the Complainant's
      VOLCANO trademarks and the design of the Complainant's website, and offers services that compete with
      those of the Complainant, while misrepresenting that this website is somehow related to the Complainant. In
      these circumstances, the Panel is satisfied that the disputed domain name was registered with knowledge of,
      and in view of the popularity of, the Complainant and its VOLCANO trademark and the goodwill attached to it.
      Therefore, the Panel accepts that the disputed domain name was registered in bad faith.

      The disputed domain name is linked to a website that offers online gaming services which are not authorized by
      the Complainant. The Respondent's website copies the look and feel of the Complainant's gaming clubs, copies
      exactly the ВУЛКАН ("VULKAN" in Latin transliteration) trademark with a lightning bolt logo, and on top of
      this does not feature a disclaimer for the lack of relation with or endorsement by the Complainant. The Panel
      does not regard such conduct as being made in good faith. Rather, it appears that the Respondent, by using the
      disputed domain name, attempts to attract to its own website for commercial gain the consumers that are
      looking for the online gaming services offered by the Complainant by creating a likelihood of confusion with the
      Complainant's VOLCANO trademark as to the source or affiliation of the Respondent's website.

      Therefore, and in the lack of any denial or allegation to the contrary, the Panel finds that the Respondent has
      registered and used the disputed domain name in bad faith.

      7. Decision

      For the foregoing reasons, in accordance with paragraphs 4(i) of the Policy and 15 of the Rules, the Panel orders
      that the disputed domain name <volcano­online.com> be transferred to the Complainant.

      Assen Alexiev
      Sole Panelist
      Date: April 14, 2015




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      WIPO Arbitration and Mediation Center

      ADMINISTRATIVE PANEL DECISION

      Ritzio Purchase Limited v. Legato LLC / V. Zaharchenko / Jimmy McColin /
      Chernovsky Vladimir Sergeevich / Domain Admin, PrivacyProtect.org

      Case No. D2015­1182
      1. The Parties

      The Complainant is Ritzio Purchase Limited of Nicosia, Cyprus, represented by Mapa Trademarks SL, Spain.

      The Respondents are Legato LLC of Samara, the Russian Federation / V. Zaharchenko of Prague, Czech
      Republic / Jimmy McColin of Gibraltar / Chernovsky Vladimir Sergeevich of Luzhsky, the Russian Federation /
      Domain Admin, PrivacyProtect.org of Queensland, Australia (collectively the "Respondent") represented by
      Boston Law Group, United States of America.

      2. The Disputed domain names and Registrars

      The disputed domain names <volcano­slot­online.com>, <slot­volcano­online.com>, <slotvolcano.com>,
      <slot­online­volcano.com>, <online­volcano­slot.com> and <volcano­club­online.com> are registered with
      PDR Ltd. d/b/a PublicDomainRegistry.com.

      The disputed domain names <volcano­club.com>, <volcanoclub­slots.com>, <volcano­slot­club.com> and
      <volcano­slots­club.com> are registered with Regtime Ltd. (collectively the "Registrars").

      3. Procedural History

      The Complaint was filed with the WIPO Arbitration and Mediation Center (the "Center") on July 8, 2015. On
      July 9, 2015, the Center transmitted by email to the Registrars a request for registrar verification in connection
      with the disputed domain names. On July 10, 2015, the Registrars transmitted by email to the Center its
      verification response disclosing registrant and contact information for the disputed domain names which
      differed from the named Respondent and contact information in the Complaint. The Center sent an email
      communication to the Complainant on July 15, 2015 providing the registrant and contact information
      disclosed by the Registrars, and inviting the Complainant to submit an amendment to the Complaint. The
      Complainant filed an amended Complaint on July 21, 2015.

      Further to the Center's language of proceedings communication in both English and Russian of July 24, 2015,
      both parties agreed on English as the language of the proceedings.

      The Center verified that the Complaint together with the amended Complaint satisfied the formal requirements
      of the Uniform Domain Name Dispute Resolution Policy (the "Policy" or "UDRP"), the Rules for Uniform
      Domain Name Dispute Resolution Policy (the "Rules"), and the WIPO Supplemental Rules for Uniform Domain
      Name Dispute Resolution Policy (the "Supplemental Rules").

      In accordance with the Rules, paragraphs 2(a) and 4(a), the Center formally notified the Respondent of the
      Complaint, and the proceedings commenced July 31, 2015. In accordance with the Rules, paragraph 5(a), the
      due date for Response was August 20, 2015. The Response was filed with the Center on August 20, 2015.




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      On September 9, 21 and October 1, 2015, the Center received the Complainant's supplemental filings. On
      September 13 and September 30, 2015, the Center received the Respondent's supplemental filings.

      The Center appointed Willem J. H. Leppink, Matthew S. Harris and Paul M. DeCicco as panelists in this matter
      on September 17, 2015. The Panel finds that it was properly constituted. Each member of the Panel has
      submitted the Statement of Acceptance and Declaration of Impartiality and Independence, as required by the
      Center to ensure compliance with the Rules, paragraph 7.

      4. Factual Background

      The parties submitted a large number of documents and, in particular, exhibits in this case. The Panel need not,
      and will not, summarize the massive record submitted here beyond what is necessary to reach and explain its
      decision in this case.

      The Complainant is a company registered in Cyprus and is part of a business group that has been engaged in
      gaming and casino operations for over 20 years.

      It would appear that until the mid­1990's this group had substantial operations in the Russian Federation.
      However, (according to the uncontested claims of the Respondent in this respect), in 2009 all bricks and mortar
      gambling operations in the Russian Federation became illegal save in a limited number of government approved
      locations. At that point the Complainant withdrew its on­the­ground operations in that country.

      Notwithstanding this physical withdrawal, the Complainant's business group has continued to operate
      elsewhere in the world. Undisputed evidence which has been provided shows that it still has operations in the
      form of 200 branded gaming clubs throughout Europe; in particular in Germany, Italy, Croatia, Romania,
      Belarus and Latvia. From 2006 to 2010 its revenues amounted to in excess of USD 5.5 billion.

      It would appear that some, if not all, of these various operations have been conducted under variants of a single
      VOLCANO brand. ВУЛКАН was used in the Russian Federation. ВУЛКАН in Cyrillic is the equivalent of
      "Vulkan" in roman script. VULKAN STERN was and is still used in Germany, while VULCANO DELLA
      FORTUNA has been used in Italy and VULCAN has been used in Belarus.

      The Complainant is also the owner of a number of registered trademarks around the world that incorporate or
      comprise variants of this brand. Many of these trademarks are registered in the Russian Federation. However,
      they also include the following marks:

      (i) International trademark no 791038 dated September 3, 2002 (based upon a Russian registration no. 216203
      dated July 3, 2002) in class 41 designating 14 different states, all of which either form part of the
      Commonwealth of Independent States (CIS) or were historically part of the Soviet Union.

      (ii) International trademark no 989103 dated August 11, 2008 (based upon a Russian registration no. 307879
      dated June 2, 2006) for the word mark VOLCANO in classes 9, 16, 21, 25, 28, 35, 38, 39, 41, 42, 43 and 45,
      designating Belarus, the European Community, Croatia, Kazakhstan, Serbia and the Ukraine. The mark
      proceeded to grant unchanged in Belarus, Croatia and Serbia. In Kazakhstan it has been subject to provisional
      refusal. It has proceeded to grant in all other designated countries save for in respect of a modified set of goods
      and services. For example, the application proceeded to grant as a Community Trademark on September 3, 2012
      in respect of goods and services in classes 16, 21, 25, 28, 35, 39, 41, 43, 45.

      (iii) International trademark no 984297 dated August 11, 2008 (based upon a Russian registration no. 353692
      dated June 25, 2008) for the word mark VULKAN in classes 9, 16, 21, 28, 32, 35, 38, 39, 41, 42, 43 and 45,
      designating Belarus, the European Community, Croatia, Kazakhstan, Serbia and the Ukraine. The mark
      proceeded to grant unchanged in Croatia but has been provisionally refused in Kazakhstan. It has proceeded to




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      grant in all other designated countries in respect of a modified set of goods and services. For example, the
      application proceeded to grant as a Community Trademark on October 1, 2012 in respect of goods and services
      in classes 9, 16, 21, 28, 35, 38, 39, 41, 42, 43 and 45.

      The disputed domain names were registered on the following dates:

      <volcanoclub­slots.com> February 12, 2013

      <volcano­slot­club.com> February 4, 2013

      <volcano­club.com> September 17, 2010

      <volcano­slots­club.com> February 12, 2013

      <volcano­slot­online.com> October 1, 2014

      <slot­volcano­online.com> October 1, 2014

      <slotvolcano.com> October 1, 2014

      <slot­online­volcano.com> October 1, 2014

      <online­volcano­slot.com> October 1, 2014

      <volcano­club­online.com> June 19, 2013

      The websites operating from the disputed domain names prominently feature the VOLCANO (design) marks.

      Further, the following text appears on the "about" page of all of the websites:

      "For many years, "Volcano" has held the position of the largest national network of gaming clubs. Name of the
      club has become almost synonymous with excitement, known to everyone who was somehow connected to the
      gaming industry. Due to the introduction in the Russian Federation of legislative restrictions, we focused on the
      World Wide Web. After the transfer of the main staff of the company abroad, our clubs have moved to a new
      level and became positioned as the online casino, because our clients are people who appreciate a truly
      interesting vacation, stay with us! We will continue our work in Germany, Italy, the Czech Republic, Latvia,
      Belarus and many other countries."

      and

      "The basis of our work has always been and will be our players, because it is with you we have built a perfect
      reputation and a name that is known all over the world."

      and

      "Numerous one­day sites for the rapid and easy money often use the symbolism of our online casino, using well­
      known brand and reputation, but with us you can not worry. In order to fully protect yourself ­ Use only official
      service of our online casino, the list of which you can find here."

      There have been a number of previous UDRP decisions involving similar disputed domain names to those that
      are the subject matter of the current proceedings. In particular:




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      (i) EvoPlay LLC v. Mr Timur Ziganshin / Moniker Privacy Services / Timur, WIPO Case No. D2015­0222 in
      which the Complainant's licensee brought proceedings in relation to the disputed domain names <casino­
      vulcan.com>, <clubvulcan.com>, <vulcan­casino.com>, <vulcan­casino.net> and <vulcan­casino.org> and
      <vulcan­cazino.com>; and

      (ii) EvoPlay LLP v. Mardiros Haladjian / GGS Ltd, WIPO Case No. D2015­0252 in which the Complainant's
      licensee brought proceedings in relation to the disputed domain names <bestvulkan.com> and
      <myvulkan.com>.

      In each of these cases the complaint was denied.

      In contrast, the Complainant succeeded in Ritzio Purchase Limited v. Whoisguard Protected, Whoisguard, Inc
      / Zhoselin­Patrick Mandzela, WIPO Case No. D2015­0295 in relation to the domain name <volcano­
      online.com>. However, in that case the Respondent does not appear to have been involved and no response was
      filed.

      The Complainant also succeeded in Ritzio Purchase Limited v. Domain Admin, PrivcayProtect.org / Timur
      Ziganshin / Lianna Tall, Escave Ltd / Private Whois, Global Domain Privacy Services Inc / Moniker Privacy
      Services, WIPO Case No. D2015­0875 in relation to the disputed domain names <casino­vulcan.co>, <vulcan­
      casino.co>, <club­vulcan.com>, <vulcan­cazino.org>, <vulcan­casino2.com>, <casino­vulcan.com> and
      <vulcan­cazino.net>.

      5. Parties' Contentions

      A. Complainant
      The Complainant refers to its various registered trademarks and claims that by reason of its activities these
      marks are famous worldwide. It claims that each of the disputed domain names is confusingly similar to those
      marks.

      The Complainant contends that the Respondent is not a licensee of Complainant, and that the Complainant
      has not authorized or consented to the Respondent's use of any of its trademarks. It maintains instead "that
      [the] Respondent simply acquired the [disputed domain names] in hopes of intentionally attracting, for
      commercial gain, Internet users to Respondent's website by creating a likelihood of confusion". Further, it
      contends that none of the factors identified in paragraph 4(c) of the Policy apply in this cases. It, therefore,
      claims that the Respondent has no right, or legitimate interests in the disputed domain names.

      Similarly the Complainant contends that each of the disputed domain names was registered and used in bad
      faith. It claims that the use of the disputed domain names infringes its trademark rights. Further, it maintains
      that it is apparent from the websites operating from the disputed domain names that the Respondent is
      effectively pretending to be the Complainant, when it is not.

      The Complainant also contends that the Respondent's use of the disputed domain names falls within the scope
      of paragraph 4(b)(iv) of the Policy. Further, the Complainant contends that the Respondent has sought to hide
      its true identity, inter alia, through the use of privacy services and that this is again an indicator of bad faith.

      B. Respondent
      The Respondent begins its substantive response with referring to the two previous decisions in which claims
      against the Respondent or related parties in respect of similar disputed domain names failed. It claims that the
      arguments raised by the complainant in those cases were nearly identical to those in the current proceedings.
      The Respondent claims that for the same reasons given by the panels in those cases, the Complaint should be
      rejected. It also relies on the comments in paragraph 4.1 of the WIPO Overview of WIPO Panel Views on Selected
      UDRP Questions, Second Edition (the "WIPO Overview 2.0") as to the desirability that panel decisions under
      the policy are "consistent with prior panel decisions dealing with similar fact situations".



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      So far as the substantive issues in this case are concerned, the Respondent contends that for many years
      gambling has been illegal in the Russian Federation. As a consequence of this, it is claimed that the
      Complainant's Russian marks have not been used in Russia since at least 2009 and that to "the extent they
      claim protection for gambling services, the Russian Registrations are invalid due to abandonment and non­use
      and are subject to cancellation". In this respect, the Respondent makes extensive submissions in relation to
      Russian gaming and intellectual property law.

      The Respondent further claims that the Complainant's various international registrations rely upon those
      invalid registrations and "may still be 'dependent' (and thus vulnerable to cancellation) upon the validity of
      their underlying Russian registrations". The Respondent also appears to claim that the international
      registrations are invalid because the Complainant is a Cyprus corporation and therefore did not have "a real and
      effective industrial or commercial establishment in Russia" at the time the marks were registered.

      The Respondent also contends that outside of the Russian Federation many other entities use VOLCANO
      trademarks in respect of these services and this has "prevented [the] Complainant from registering such marks
      in several jurisdictions".

      The Respondent claims that when it registered the disputed domain names it did so "with the knowledge that
      trademark rights no longer could exist in the Russian Federation for any gambling­related activities".

      Further, the Respondent claims that the Complainant for many years either explicitly consented to third parties
      using its putative trademarks without any oversight or licensing, or simply did not care that third parties did
      so. The Respondent claims that Respondent and Asocial Games registered the disputed domain names and
      operated the websites at the disputed domain names for years in full view of the Complainant, who has taken
      no action until its putative licensee EvoPlay began to use the UDRP process to wrench away domain names
      from its legitimate competitors. GGS's websites, EvoPlay's websites and Asocial Games websites are very
      similar. Having at the very least impliedly consented to so many third parties using the marks for so many
      years in the same way that the Respondent and Asocial Games has been operating, the Complainant should not
      now be able to hijack the disputed domain names of successful websites to use for its own purposes. The
      Respondent therefore states that to the extent that the Complainant may possess any legitimate trademark
      right in the trademarks shown in the disputed registrations, the Complainant's pattern of actions and inaction
      over the past four years constitute acquiescence and implied consent to the Respondent's and Asocial Games'
      use of those marks in the registration and operation of the disputed domain names.

      The Respondent contends that the use of a privacy service in relation to the domain name registrations is of "no
      relevance" since there are legitimate reasons for using such services (citing WWF­World Wide Fund for Nature
      aka WWF International v. Moniker Online Services LLC and Gregory Ricks, WIPO Case No. D2006­0975).

      Finally, the Respondent contends that this is a case where the Panel should make a finding of Reverse Domain
      Name Hijacking.

      C. The Parties Supplemental Submissions
      Both parties have submitted supplemental submissions in these proceedings. None of these were called for by
      the Panel. The position as to the admissibility of unsolicited supplemental submissions is addressed in
      paragraph 4.2 of the WIPO Overview 2.0 as follows:

      "Consensus view: As the UDRP Rules grant the panel sole discretion to request further statements and
      determine the admissibility of evidence which may include an unsolicited filing, such filings, when received
      from a party, would typically be put before the panel upon the panel's appointment ­ at no additional charge ­
      for determination as to admissibility, and assessment of need for further procedural steps (if any). Normally in
      such cases, a panel would include a ruling on admissibility of any such received filings in its decision, or in the
      event that an opportunity to reply is offered to the other party, in an administrative panel order. Panels have
      discretion whether to accept an unsolicited supplemental filing from either party, bearing in mind the need for



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      procedural efficiency, and the obligation to treat each party with equality and ensure that each party has a fair
      opportunity to present its case. The party submitting its filing would normally need to show its relevance to the
      case and why it was unable to provide that information in the complaint or response. Most panels that have
      allowed unsolicited filings have also tended to require some showing of 'exceptional' circumstances. Panels
      which accept a supplemental filing from one side typically allow the other party the opportunity to file a reply
      to such supplemental filing. In either scenario, or on its own initiative, a panel may in its discretion request
      further evidence, information or statements from one or other of the parties by way of administrative panel
      order."

      It should again be noted that the parties submitted a large number of documents, including exhibits in this
      matter. The Panel considers that many of these documents have or seem to have some relationship with the
      previous domain name disputes referred to above. The Complainant has been the same in some matters and at
      the time of filing the Complaint must have been aware of the cases in which its licensee was the complainant.
      Although there seems to be a strong relation between the respondents in all these dispute, including the
      Respondent in this Proceeding, the Panel will not take this as a fact. Those circumstances do not convince the
      Panel that the parties were not able to provide this information in the Complaint or the Response. The Panel
      will therefore not accept these unsolicited supplemental filings pursuant to paragraph 10 and 12 of the Rules.
      The parties are reminded that such unnecessary exchange of submissions is not only burdensome for the Panel,
      but also for the Center and this seriously jeopardizes the intended efficiency of the dispute resolution
      mechanism under the UDRP.

      6. Discussion and Findings

      To succeed in these proceedings the Complainant must make out its case in all respects under paragraph 4(a) of
      the Policy. Namely, the Complainant must prove that:

      (i) the domain names are identical or confusingly similar to a trademark or service mark in which the
      Complainant has rights (paragraph 4(a)(i)); and

      (ii) the Respondent has no rights or legitimate interests in respect of the domain names (paragraph 4(a)(ii));
      and

      (iii) the domain names have been registered and are being used in bad faith (paragraph 4(a)(iii)).

      A. Identical or Confusingly Similar
      The Complainant must demonstrate that it has rights in a trademark and, if so, the disputed domain names
      must be shown to be identical or confusingly similar to the trademarks.

      Each of the disputed domain names, can only be sensibly read as the term "Volcano" in combination with some
      non­distinguishing ordinary word such as "online" or "club" and "slot" which identify the core services rendered
      under the ".com" generic Top­Level­Domains (gTLDs).

      The Panel also accepts that the term "Volcano" is virtually identical to the Complainant's VULKAN word
      trademarks. Given this, the disputed domain names are each "confusingly similar" (as that term is understood
      under the Policy), with a trademark in which the Complainant has rights.

      This international registration and the marks that flow from it were initially based upon a Russian trademark.
      That Russian registration now appears (at least in part) to be subject to challenge. However, the Respondent's
      attempt to cast doubt on the validity of the non­Russian marks because they "may still be" dependent on the
      original Russian registration is wholly unconvincing. The relevant international registration is over 5 years old
      and therefore under Article 6 of the Madrid Protocol these registrations are no longer dependent upon the




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      original Russian marks. Therefore, even if the current invalidity proceedings are successful, the Complainant
      will still have registered trademarks for the term "Vulcan" elsewhere. The Respondent does not contend that
      these other marks are invalid for any other reason.

      The ownership of a trademark registered with a recognized trademark office is sufficient for the purposes of
      paragraph 4(a)(i) of the Policy to show rights in a mark. As is recorded at paragraph 1.1 of the WIPO Overview
      2.0:

      "If the complainant owns a trademark, then it generally satisfies the threshold requirement of having trademark
      rights. The location of the trademark, its date of registration (or first use)…and the goods and/or services for
      which it is registered, are all irrelevant for the purpose of finding rights in a trademark under the first element of
      the UDRP. However, such factors may bear on a panel's determination whether the respondent has registered
      and used the domain name in bad faith under the third element of the UDRP."

      In the circumstances, the Complainant has made out the requirements of paragraph 4(a)(i) of the Policy.

      The Panel notes that in both EvoPlay LLC v. Mr Timur Ziganshin / Moniker Privacy Services / Timur, WIPO
      Case No. D2015­0222 and EvoPlay LLP v. Mardiros Haladjian / GGS Ltd., WIPO Case No. D2015­0252 one of
      the issues that concerned the panels was the fact that the complainant in those cases (a putative licensee of the
      Complainant here) was not the owner of the marks relied upon. Instead, it claimed to be a licensee of the
      relevant marks and the scope and validity of that license appeared to be contested. This is not an issue in the
      present case as the Complainant is the registered owner of the relevant registered marks.

      B. Rights or Legitimate Interests
      The Respondent's claim in support of their having rights or legitimate interests is essentially that as the
      Complainant's trademark rights are liable to revocation in the Russian Federation for non­use, the Respondent
      can as a matter of Russian law, legitimately adopt those trademarks in connection with its business in the
      Russian Federation without infringing any right of the Complainant. The Respondent therefore contends that it
      can lawfully use these disputed domain names in the Russian Federation and that consequentially the
      Respondent has rights or legitimate interests in the same.

      As explained above, the Panel considers it inappropriate to venture upon a discussion as to whether the
      Complainant's marks are, or are not, valid in the Russian Federation. In any event, it is prepared to assume
      (without deciding) in the Respondent's favour that these marks are indeed invalid and unenforceable in the
      Russian Federation by reason of their non­use. However, it does not necessarily and inevitably follow from this
      that the Respondent has rights or legitimate interests in the disputed domain names.

      This Respondent's argument assumes that simply because the use of a domain name cannot be stopped as a
      matter of local law in a particular country then the registrant must have a right or legitimate interest in that
      domain name. However, the Panel does not think this is right. It is not uncommon under the Policy for a
      complainant to own registered trademark rights in a term in a large number of countries and for that term also
      to be known in other countries where a mark has not yet been obtained. Should someone register and use a
      domain name that incorporates that term in a country where trademark rights do not yet exist with a view to
      taking unfair advantage of that reputation (for example to sell a competing product), it is unlikely that under
      the Policy the registrant will have a relevant right or legitimate interest. This is so, even if the complainant
      cannot demonstrate that the registrant's use of the domain name is unlawful in a particular jurisdiction.

      Of course, the present case is not one where the Complainant has not got round to applying for a mark in the
      Russian Federation. It is one where those marks have been obtained but are claimed to be invalid. But the point
      is that the existence of a right or legitimate interest for the purposes of the Policy and whether the use of a
      domain name is unlawful as a matter of local law is not necessarily the same thing.

      This is a point that is also addressed in paragraph 4.15 of the WIPO Overview 2.0. This states as follows:



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      "Paragraph 15(a) of the UDRP provides that a panel shall decide a complaint on the basis of the statements and
      documents submitted and in accordance with the UDRP, the UDRP Rules, and any rules and principles of law
      that it deems applicable. Rooted in generally­recognized principles of trademark law, and designed to operate in
      the context of the world wide web, the decision framework of the UDRP generally does not require resort to
      concepts or jurisprudence specific to national law (other than with respect to the question of whether trademark
      rights exist). For example, WIPO panels have recognized that bad faith under the UDRP may be assessed by
      reference to the consistent body of prior UDRP decisions."

      For rights or legitimate interests to exist under the Policy, usually something else other than mere absence of
      illegality is required. Non­exclusive examples of that "something else" are to be found in paragraph 4(c) of the
      Policy. This states that any one of the following will demonstrate rights or legitimate interests:

      "(i) before any notice to you of the dispute, your use of, or demonstrable preparations to use, the domain name
      or a name corresponding to the domain name in connection with a bona fide offering of goods or services;

      (ii) you (as an individual, business, or other organization) have been commonly known by the domain name,
      even if you have acquired no trademark or service mark rights; and

      (iii) you are making a legitimate noncommercial or fair use of the domain name, without intent for commercial
      gain to misleadingly divert consumers or to tarnish the trademark or service mark at issue."

      Paragraph 4(c)(iii) is not relevant in this case since the Respondent's use of the disputed domain names is
      commercial in nature. So far as paragraph 4(c)(ii) is concerned, the Respondent does not contend that it is
      commonly known by any of the disputed domain names or the term "Vulcan" nor is there any evidence in the
      record that supports such a position. Indeed, as the Panel goes on to address in greater detail in the context of
      the discussion of bad faith later on in this decision, it seems to be undisputed that the way in which the
      Respondent (or those to whom it has handed control of the disputed domain names) has conducted business is
      to represent to the Russian speaking public that the person responsible for the websites operating from the
      disputed domain names either is the Complainant or is in some manner the legitimate successor in business to
      the Complainant, when in reality it is not. One cannot claim to be commonly known by a name in
      circumstances where one is using that name to impersonate someone else.

      Further, so far as paragraph 4(c)(i) is concerned, it appears to be undisputed that the Respondent was aware of
      the Complainant's claimed rights when it registered and started to use the disputed domain names.
      Accordingly, it is highly questionable whether the Respondent's use was before notice of the relevant dispute.
      Further and in any event, the Panel is of the view that the use of a name or trademark so as to impersonate
      another does not constitute a bona fide offering of goods or services under the Policy. Indeed, such activity is
      usually seen as an indicator that rights or legitimate interests do not exist (see, for example, Saks & Company v.
      saksfifthavenue­hours.net, WIPO Case No. D2014­1194).

      The Panel also notes that the Respondent contends at great length that gambling in the Russian Federation is
      illegal. The Panel is not in a position to conclude as to whether this is right or wrong. This is precisely the sort of
      issue which is ill suited to determination under the UDRP. Nevertheless, it is worth recording that this is an
      argument which if correct, undermines rather than supports the Respondent's case.

      As far as the Panel can tell, this argument as to the legality of gambling law is advanced to provide the reason
      why the Complainant cannot have used its marks in the Russian Federation for a number of years and therefore
      why its Russian marks must be invalid. As has already been explained, even if the Panel would be prepared to
      accept for the purposes of these proceedings that the Complainant's marks are invalid based on the illegality of
      gambling in the Russian Federation, given that the Respondent's activities also involve gambling and are
      primarily directed to persons in the Russian Federation, it follows that the Respondent's own activities are also
      illegal.




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      Therefore, it would appear that the Respondent is trying to contend that it has rights or legitimate interests in
      the disputed domain names because its activities are not contrary to Russian trademark law even though it
      posits that those same activities are illegal as a matter of Russian law. The Respondent cannot simultaneously
      have its cake and eat it.

      In the circumstances, the Panel finds that Complainant has made out the requirements of paragraph 4(a)(ii) of
      the Policy.

      C. Registered and Used in Bad Faith
      Despite the extensive arguments put forward by the Respondent, there appears to be no real dispute that the
      Respondent was aware of the Complainant's marks at the time that the disputed domain names were registered
      and has essentially set up websites that are intended to lead Internet users to believe that these have been set up
      by the Complainant or by an entity that is the Complainant's successor in business.

      This is apparent not only from the fact that the websites prominently display the VOLCANO design mark, but
      also from the text that appears on these websites.

      The statement that "'Volcano' has held the position of the largest network of gaming clubs" is clearly a reference
      to the Complainant. As such this text provides clear evidence as to both the reputation of the Complainant's
      marks and the Respondent's own knowledge of the Complainant's marks. Further, the text that follow this and
      in particular the assertions that these clubs have now "moved to a new level and become positioned as the
      online casino", that they have continuing operations in Germany, Italy and elsewhere, and that these websites
      are the "official service", can only be sensibly understood as amounting to a claim that the operator of these
      websites is either the business that used to run the Complainant's "network of gaming clubs" or somehow
      connected or authorized by the entity that did.

      The Respondent contends that the Complainant has consented to the registration and use of the disputed
      domain names in this manner. Were this true, that would most likely provide an answer to the Complainant's
      claims in this case. However, there is no real evidence before the Panel to this effect. Although an affidavit is
      provided from a Mr. Sevostianov, his statements in that affidavit to this effect are little more than a bare
      assertion. No further explanation, elaboration or evidence as to exactly what form such consent took is
      provided. There is a reference to joint venture discussions, but it is not alleged that the Respondent's activities
      have been pursuant to such a joint venture and the mere fact that one enters into joint venture discussions with
      someone does not mean that one is implicitly, let alone explicitly, consenting to their activities to that date.

      Further, Mr. Sevostianov evidence relates to the Complainant's dealings with GGS Limited; i.e. the operator of
      the relevant websites in Ritzio Purchase Limited v. Domain Admin, PrivcayProtect.org / Timur Ziganshin /
      Lianna Tall, Escave Ltd / Private Whois, Global Domain Privacy Services Inc / Moniker Privacy Services,
      WIPO Case No. D2015­0875. The operator of the websites in this case is not GGS Limited but Asocial Games.
      There is no evidence before the Panel to suggest that at any time the Complainant consented to Asocial Games'
      activities.

      At its heart, therefore, and despite the extensive argument and submissions filed by both parties, ultimately
      this is a relatively simple case of impersonation. The Respondent (or at least persons on behalf of whom the
      Respondent has registered the disputed domain names) has registered and is using the disputed domain names
      in order to pass themselves off as the Complainant (or in some way authorized by the Complainant) when it is
      not, in order to thereby draw Internet users to gambling websites for commercial gain. Registration and use of a
      domain name for such a purpose is a classic example of registration and use in bad faith. So far as use is
      concerned it is activity that falls within the scope of paragraph 4(b)(iv) of the Policy.

      Whether such impersonation and passing off offends against Russian trademark law the Panel is not in a
      position to say. However, in the opinion of the Panel even if it does not offend against Russian law, that does
      not prevent a finding of bad faith registration and use in this case.



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      In the circumstances, the Panel concludes that Complainant has made out the requirements of paragraph 4(a)
      (iii) of the Policy.

      D. Reverse Domain Name Hijacking
      The Respondents request a finding of Reverse Domain Name Hijacking which is defined as "using the Policy in
      bad faith in attempt to deprive a registered domain name holder of a domain name". In view of the Panel's
      finding under the three elements of the Policy, the Panel also denies the Respondents' request.

      7. Decision

      For the foregoing reasons, in accordance with paragraphs 4(i) of the Policy and 15 of the Rules, the Panel orders
      that the disputed domain names <online­volcano­slot.com>, <slot­online­volcano.com>, <slotvolcano.com>,
      <slot­volcano­online.com>, <volcano­club.com>, <volcano­club­online.com>, <volcanoclub­slots.com>,
      <volcano­slot­club.com>, <volcano­slot­online.com> and <volcano­slots­club.com> be transferred to the
      Complainant.

      Willem J. H. Leppink
      Presiding Panelist

      Matthew S. Harris
      Panelist

      Paul M. DeCicco
      Panelist
      Date: October 10, 2015




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                             WIPO Arbitration and Mediation Center


                                                     ADMINISTRATIVE PANEL DECISION
   Ritzio Purchase Limited v. Domain Admin, PrivacyProtect.org / Timur Ziganshin / Lianna Tall, Escave Ltd / Private
                        Whois, Global Domain Privacy Services Inc / Moniker Privacy Services
                                                                Case No. D2015­0875



  1. The Parties

  1.1 The Complainant is Ritzio Purchase Limited of Nicosia, Cyprus, represented by Mapa Trademarks SL, Spain.

  1.2 The Respondents are Domain Admin, PrivacyProtect.org of Nobby Beach, Australia / Timur Ziganshin of Izhevsk, the Russian
  Federation / Lianna Tall, Escave Ltd of Mahe, Seychelles / Private Whois, Global Domain Privacy Services Inc of Marbella, Panama /
  Moniker Privacy Services of Fort Lauderdale, Florida, United States of America, represented by Boston Law Group, PC, United States
  of America.



  2. The Domain Names and Registrars

  2.1 The disputed domain names <casino­vulcan.co> and <vulcan­casino.co> are registered with PDR Ltd. d/b/a
  PublicDomainRegistry.com.

  2.2 The disputed domain names <club­vulcan.com>, <vulcan­cazino.org>, <vulcan­casino2.com>, <cazino­vulcan.com> and
  <vulcan­cazino.net> are registered with URL Solutions, Inc. How the disputed domain name <vulcan­cazino.net> came to be
  registered with URL Solutions Inc is addressed in the Procedural History section of this decision.

  2.3 The disputed domain names are hereafter referred to collectively as the "Domain Names".



  3. Procedural History

  3.1 The Complaint was filed with the WIPO Arbitration and Mediation Center (the "Center") on May 27, 2015. At that time the publicly
  available WhoIs details for the Domain Names identified the registrants as the privacy services "PrivacyProtect.org", "Global Domain
  Privacy Services Inc" and "Moniker Privacy Services".

  3.2 On May 22, 2015, the Center transmitted by email to the concerned registrars a request for registrar verification in connection with
  the Domain Names. On May 29, 2015, the concerned registrars transmitted by email to the Center their verification responses
  disclosing the underlying registrants behind the various privacy services as "Lianna Tall" and "Timur Ziganshin" and providing those
  registrants' contact information.

  3.3 The Center provided this information to the Complainant on June 5, 2015 inviting the Complainant to submit an amendment to the
  Complaint. The Complainant filed an amendment to the Complaint on June 10, 2015.

  3.4 The Center verified that the Complaint together with the amendment to the Complaint satisfied the formal requirements of the
  Uniform Domain Name Dispute Resolution Policy (the "Policy" or "UDRP"), the Rules for Uniform Domain Name Dispute Resolution
  Policy (the "Rules"), and the WIPO Supplemental Rules for Uniform Domain Name Dispute Resolution Policy (the "Supplemental
  Rules").

  3.5 In accordance with the Rules, paragraphs 2(a) and 4(a), the Center formally notified the Respondents of the Complaint, and the
  proceedings commenced June 12, 2015. In accordance with the Rules, paragraph 5(a), the due date for Response July 2, 2015. The
  Response was filed with the Center July 2, 2015, in the names of "Escave Limited" and by "Timur Ziganshin" and in this document
  "Escave Limited" and "Timur Ziganshin" accepted that they were the registrants of the Domain Names. In this decision references to
  the "Respondent" hereinafter is intended as a reference to these registrants unless the contrary is apparent.

  3.6 The Complainant and the Respondent submitted Supplemental Filings on July 7 and July 17, 2015, respectively.

  3.7 On June 25, 2015 the Center, having noted that one of the Domain Names <vulcan­cazino.net> was set to expire in September,
  sent an email in the usual form to Moniker Online Services LLC requesting confirmation of what if anything was required of the
  Parties to ensure that this Domain Name did not expire in the course of these proceedings. It would appear from subsequent
  correspondence between Moniker Online Services LLC, URL Solutions Inc and the Center, that whilst this Domain Name was
  unlocked to allow this Domain Name solely to be renewed, it was nevertheless permitted to be transferred to URL Solutions in
  apparent breach of paragraph 8 of the UDRP. However, URL Solutions appears to have placed this Domain Name on lock pending
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  the outcome of these proceedings.

  3.8 The Center appointed Matthew S. Harris, Olga Zalomiy and Paul M. DeCicco as panelists in this matter on July 28, 2015. The
  Panel finds that it was properly constituted. Each member of the Panel has submitted the Statement of Acceptance and Declaration of
  Impartiality and Independence, as required by the Center to ensure compliance with the Rules, paragraph 7.

  3.9 On July 28, 2015, the Respondent filed yet another supplemental filing. In that filing the Respondent referred to proceedings filed
  on July 24, 2015 with the Russian trade mark office that sought to cancel a number of the Complainant's Russian trade mark
  registrations. On July 31, 2015, the Complainant filed a submission in response asking the Panel to suspend these proceedings for
  30 days pursuant to Paragraph 18(a) of the Rules. Later that same day the Respondent filed a further submission opposing that
  suspension.

  3.10 On August 7, 2015, the Panel informed the Parties that it was not minded to suspend the proceedings as requested by the
  Complainant. It stated that it would inform the Parties of it reasons for not doing so in it decision in this matter.



  4. Factual Background

  4.1 The Complainant is a company registered in Cyprus and is part of a business group that has been engaged in gaming and
  casino operations for over 20 years.

  4.2 It would appear that until the mid 1990s this group had substantial operations in Russia. However, (according to the uncontested
  claims of the Respondent in this respect), in 2009 all bricks and mortar gambling operations in Russia became illegal save in a
  limited number of government approved locations. At that point the Complainant withdrew its on­the­ground operations in that
  country.

  4.3 Notwithstanding this physical withdrawal, the Complainant's business group has continued to operate elsewhere in the world.
  Undisputed evidence has been provided that shows that it still has operations in the form of 200 branded gaming clubs throughout
  Europe; in particular in Germany, Italy, Croatia, Romania, Belarus and Latvia. From 2006 to 2010 its revenues amounted to in excess
  of USD 5.5 billion.

  4.4 It would appear that some, if not all, of these various operations have been conducted under variants of a single "Volcano" brand.
  "Вулкан" was used in Russia. "Вулкан" in Cyrillic is the equivalent of "Vulkan" in roman script. "Vulkan Stern" was and is still used in
  Germany, while "Vulcano della Fortuna" has been used in Italy and "Vulcan" has been used in Belarus.

  4.5 The Complainant is also the owner of a number of registered trade marks around the world that incorporate or comprise variants
  of this brand. Many of these trade marks are registered in Russia. However, they also include the following marks:

  (i) International trade mark no 791038 dated September 3, 2002 (based upon a Russian registration no 216203 dated July 3, 2002)
  in class 41 designating 14 different states, all of which either form part of the Commonwealth of Independent States (CIS) or were
  historically part of the Soviet Union. The mark has proceeded to grant in all of these states and takes the following form:




  (the "Volcano Design Mark")

  (ii) International trade mark no 989103 dated August 11, 2008 (based upon a Russian registration No. 307879 dated June 2, 2006)
  for the word mark VOLCANO in classes 9, 16, 21, 25, 28, 35, 38, 39, 41, 42, 43 and 45, designating Belarus, the European
  Community, Croatia, Kazakhstan, Serbia and the Ukraine. The mark proceeded to grant unchanged in Belarus, Croatia and Serbia.
  In Kazakhstan it has been subject to provisional refusal. It has proceeded to grant in all other designated countries save for in respect
  of a modified set of goods and services. For example, the application proceeded to grant as a Community Trade Mark on September
  3, 2012 in respect of goods and services in classes 16, 21, 25, 28, 35, 39, 41, 43, 45.

  (iii) International trade mark no 984297 dated August 11, 2008 (based upon a Russian registration No. 353692 dated June 25, 2006)
  for the word mark VULKAN in classes 9, 16, 21, 28, 32, 35, 38, 39, 41, 42, 43 and 45, designating Belarus, the European Community,
  Croatia, Kazakhstan, Serbia and the Ukraine. The mark proceeded to grant unchanged in Croatia but has been provisionally refused
  in Kazakhstan. It has proceeded to grant in all other designated countries in respect of a modified set of goods and services. For
  example, the application proceeded to grant as a Community Trade Mark on October 1, 2012 in respect of goods and services in
  classes 9, 16, 21, 28, 35, 38, 39, 41, 42, 43 and 45.

  4.6 The Domain Names were registered on the following dates:

  <club­vulcan.com> February 2, 2012
  <cazino­vulcan.com> August 6, 2013
  <vulcan­cazino.net> September 10, 2013
  <vulcan­cazino.org> October 9, 2013
  <vulcan­casino2.com> October 30, 2013
  <casino­vulcan.co> July 31, 2014
  <vulcan­casino.co> July 31, 2014

  4.7 Shortly after registration control of each of the Domain Names was passed to GGS Limited ("GGS"), an Anguilla company.

  4.8 GGS has operated a website from the domain name <vulcan­casino.com> since June 2011 and has operated similar websites
  from the Domain Names since their registration. At all relevant times these websites have offered online gaming services. The

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  websites are in the Russian language and almost all of the users of those websites come from Russia and the Ukraine. The
  percentage of Russian visitors ranges from 46 percent in the case of the website operating from the Domain Name <club­
  vulcan.com>, to 82 percent in the case of visitors to the website operating from the Domain Name <vulcan­casino2.com>.

  4.9 The websites operating from the Domain Names prominently feature the Volcano Design Mark. Although the websites are in
  Russian, the Complainant has provided uncontested translations of text that appears on the websites operating from the Domain
  Names as follows:

  <casino­vulcan.co> and <cazino­vulcan.com>:

  "Slots Volcano ­ a gaming brand, well­known in many countries. As for Russia and the CIS countries, there is, perhaps, there will be
  no such gamblers, who would not love to play clubs volcano.

  The highest quality of service and the most generous slot machines on the market of gambling entertainment ­ these are our main
  features. It is because of this approach to business brand, 'Volcano' was the undisputed leader, and even synonymous with 'slots'.
  Have you caught yourself thinking 'Where to play slot machines?' Of course ­ in the volcano!

  Keeping pace with the times, not so long ago we went out and the open spaces of the Internet. Now the old familiar games available
  right in your browser! Moreover ­ Casino­ Vulcan.co on our site you can play slot machines for free, without registration and SMS."

  and

  "Official Game Club Volcano offers to play slot machines for free, without registration and sms! It is inconceivable that someone does
  not recognize good old red­and­blue logo 'Game Club Volcano.' Slot machines Vulcan were deservedly known throughout Russia
  and CIS countries.

  By taking advantage of the Internet, we can now offer our customers an even greater service. One of our innovations is that you can
  play as well as in free slot machines for money in our club ­ Volcano online casino!"

  <vulcan­casino.co> and <vulcan­cazino.net> <vulcan­cazino.org> and <vulcan­casino2.com>:

  "We are sure that there is not a man that would not be familiar with the brand name 'Volcano'. We have long been a leading national
  network of gaming clubs, but after some changes in the Russian legislation, the club 'Volcano' had left his home and now we're
  working on the territory of countries such as Belarus, Latvia, Serbia, Italy, Germany, Romania, the Czech Republic, Peru and Bolivia.

  We keep up with the progress and are ready to offer you a long­familiar and favourite games ­ now on the Internet. All of our old
  players, no doubt, already vkurse [sic] the advantages offered by the game at the 'volcano'.

  Surely you are familiar with our brand, because not so long ago the gaming club 'Volcano' with blue­red sign can be found in any
  large, and not very city. Without false modesty we can say that Vulkan had the largest network of gaming clubs in Russia and
  Moscow. And now ­ in 2011 ­ we are glad to see you on our official web­site!"

  <club­vulcan.com>:

  "Club Volcano ­ familiar to many, if not all, gambling brand, has long become synonymous with big winnings and gambling Activity.
  Since the heyday of gaming network 'Volcano' Many years have passed, and now we have shifted our emphasis on Europe, Latin
  America, and most importantly ­ we are now represented on the Internet!"

  and

  "All lovers of the casino in real life yet, of course, is well remembered the blue­red sign gambling clubs 'Volcano'. He was in any major
  city. It was the largest network gaming establishments, which united a great many true connoisseurs of gambling in the casino. Now
  free slot machines you can play online casino Volcano."

  4.10 There have been a number of previous UDRP decisions involving similar domain names to those that are the subject matter of
  the current proceedings. In particular:

  (i) EvoPlay LLC v. Mr Timur Ziganshin / Moniker Privacy Services / Timur, WIPO Case No. D2015­0222 in which the Complainant's
  licensee brought proceedings in relation to the domain names <casino­vulcan.com>, <clubvulcan.com>, <vulcan­casino.com>,
  <Vulcan­casino.net> and <vulcan­casino.org> and <vulcan­cazino.com>; and

  (ii) EvoPlay LLP v. Mardiros Haladjian / GGS Ltd, WIPO Case No. D2015­0252 in which the Complainant's licensee brought
  proceedings in relation to the domain names <bestvulkan.com> and <myvulkan.com>.

  4.11 In each of these cases the complaint was rejected. The reasons of the panel in each of these case for doing so are addressed
  later on in this decision.

  4.12 In contrast, the Complainant succeeded in Ritzio Purchase Limited v. Whoisguard Protected, Whoisguard, Inc / Zhoselin­Patrick
  Mandzela, WIPO Case No. D2015­0295 in relation to the domain name <volcano­online.com>. However, in that case the
  Respondent does not appear to have been involved and no response was filed.



  5. Parties' Contentions

  A. Complaint


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  5.1 The Complainant refers to its various registered trade marks and claims that by reason of its activities these marks are famous
  worldwide. It claims that each of the Domain Names is confusingly similar to those marks.

  5.2 The Complainant contends that the Respondent is not a licensee of Complainant, and that the Complainant has not authorised or
  consented to the Respondent's use of any of its trade marks. It maintains instead "that [the] Respondent simply acquired the [Domain
  Names] in hopes of intentionally attracting, for commercial gain, Internet users to Respondent's website by creating a likelihood of
  confusion". Further, it contends that none of the factors identified in paragraph 4(c) of the Policy apply in this cases. It, therefore,
  claims that the Respondent has no right or legitimate interest in the Domain Names.

  5.3 Similarly the Complainant contends that each of the Domain Names was registered and used in bad faith. It claims that the use of
  the Domain Names infringes its trade mark rights. Further, it maintains that it is apparent from the websites operating from the Domain
  Names that the Respondent is effectively pretending to be the Complainant, when it is not.

  5.4 The Complainant also contends that the Respondent's use of the Domain Names falls within the scope of paragraph 4(b)(iv) of
  the Policy. Further, the Complainant contends that the Respondent has sought to hide its true identity, inter alia, through the use of
  privacy services and that this is again an indicator of bad faith.

  B. Response

  5.5 The Respondent begins its substantive response with a quote from Yogi Berra declaring: "It's déjà vu all over again." In this
  respect it refers to the two previous decisions (i.e,the decisions identified at paragraph 4.10 of this decision above) in which claims
  against the Respondent or related parties in respect of similar domain names failed. It claims that the arguments raised by the
  complainant in those cases were nearly identical to those in the current proceedings. The Respondent claims that for the same
  reasons given by the panels in those cases, the Complaint should be rejected. It also relies on the comments in paragraph 4.1 of the
  WIPO Overview of WIPO Panel Views on Selected UDRP Questions, Second Edition (the "WIPO Overview 2.0") as to the desirability
  that panel decisions under the policy are "consistent with prior panel decisions dealing with similar fact situations".

  5.6 So far as the substantive issues in this case are concerned, the Respondent contends that for many years gambling has been
  illegal in Russia. As a consequence of this it is claimed that the Complainant's Russian marks have not been used in Russia since at
  least 2009 and that to "the extent they claim protection for gambling services, the Russian Registrations are invalid due to
  abandonment and non­use and are subject to cancellation". In this respect, the Respondent makes extensive submissions in relation
  to Russian gaming and intellectual property law.

  5.7 The Respondent further claims that the Complainant's various international registrations rely upon those invalid registrations and
  "may still be 'dependent' (and thus vulnerable to cancellation) upon the validity of their underlying Russian registrations". The
  Respondent also appears to claim that the international registrations are invalid because the Complainant is a Cyprus corporation
  and therefore did not have "a real and effective industrial or commercial establishment in Russia" at the time the marks were
  registered.

  5.8 The Respondent also contends that outside of Russia many other entities use "volcano trade[ ]marks" in respect of these services
  and this has "prevented [the] Complainant from registering such marks in several jurisdictions".

  5.9 The Respondent claims that when it registered the Domain Names it did so "with the knowledge that trade[ ]mark rights no longer
  could exist in Russia for any gambling­related activities".

  5.10 Further, the Respondent claims that the user of the Domain Names, GGS "has operated the [Domain Names] and their affiliated
  websites openly and with the implicit consent of [the] Complainant for nearly four years". In this respect it claims that the "Complainant
  has had extensive discussions with GGS regarding the [Domain Names] and the websites, including discussions about possible joint
  projects". In support of that assertion the Respondent relies upon an Affidavit from one Andrey Sevostianov. That affidavit claims that
  not only was such use with the implicit consent, but also the explicit consent, of the Complainant. However, no further details are
  provided as to when and in exactly what circumstances that consent was provided and what these supposed "joint ventures" were.

  5.11 The Respondent contends that the use of a privacy service in relation to the Domain Name registrations is of "no relevance"
  since there are legitimate reasons for using such services (citing WWF­World Wide Fund for Nature v. Moniker Online Services LLC,
  WIPO Case No. D2006­0975).

  5.12 Finally, the Respondent contends that this is a case where the Panel should make a finding of Reverse Domain Name hijacking.

  C. The Parties' Supplemental Submissions

  5.13 Both Parties have submitted supplemental submissions in these proceedings. None of these were called for by the Panel. The
  position as to the admissibility of unsolicited supplemental submissions is addressed in paragraph 4.2 of the WIPO Overview 2.0 as
  follows:

  "Consensus view: As the UDRP Rules grant the panel sole discretion to request further statements and determine the admissibility of
  evidence which may include an unsolicited filing, such filings, when received from a party, would typically be put before the panel
  upon the panel's appointment ­ at no additional charge ­ for determination as to admissibility, and assessment of need for further
  procedural steps (if any). Normally in such cases, a panel would include a ruling on admissibility of any such received filings in its
  decision, or in the event that an opportunity to reply is offered to the other party, in an administrative panel order. Panels have
  discretion whether to accept an unsolicited supplemental filing from either party, bearing in mind the need for procedural efficiency,
  and the obligation to treat each party with equality and ensure that each party has a fair opportunity to present its case. The party
  submitting its filing would normally need to show its relevance to the case and why it was unable to provide that information in the
  complaint or response. Most panels that have allowed unsolicited filings have also tended to require some showing of 'exceptional'
  circumstances. Panels which accept a supplemental filing from one side typically allow the other party the opportunity to file a reply to
  such supplemental filing. In either scenario, or on its own initiative, a panel may in its discretion request further evidence, information
  or statements from one or other of the parties by way of administrative panel order."


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  5.14 The Panel is sceptical that there is much in the Complainant's supplemental submission of July 7, 2015 that could not have been
  included in the original Complaint. This is particularly so given that the Respondent would appear to be repeating arguments that it
  put forward in the two previous cases involving the Respondent and an entity that claimed to be the Complainant's licensee.
  However, whether or not this is correct, the Panel has formed the view that it has not needed to take into account the Complainant's
  supplemental submission in this case save to note that the Complainant seems to dispute the Respondent's contention that gambling
  has since 2006 been unlawful in Russia. Given this, the Panel also has not considered the Respondent's supplemental submission
  in reply of July 17, 2015.

  5.15 The Respondent's supplemental submission of July 28, 2015 is somewhat different in that it claims that on July 24, 2015 GGS
  has made an application to the Russian Intellectual Property Court to cancel a number of Russian trade marks, including marks
  registered in the name of the Complainant and marks in the name of an affiliated company of the Complainant. The marks attacked
  include each of the Russian trade marks upon which the international Trade Mark registrations identified in paragraph 4.5 above
  were based. Although no explanation is offered as to why these applications have been made only at this very late stage, the Panel is
  prepared to admit this submission in these proceedings.

  5.16 In support of these claims the Respondent provides a copy of these applications in Russian. It would appear that these
  documents are consistent with the Respondent's claims that cancellation proceedings have been commenced challenging a number
  of the Complainant's marks, although those proceedings appear to be limited to the marks' class 41 registrations. If the Panel had
  considered the exact scope of those proceedings to be determinative of any issue in these proceedings, it would have ordered that
  the Respondent provide translations of the same in accordance with paragraph 11(b) of the Rules and would also have provided the
  Complainant with an opportunity to respond substantively to the same. For the reasons that are set out in greater detail later on in this
  decision, the Panel has not considered it necessary to do this.



  6. Discussion and Findings

  6.1 To succeed in these proceedings the Complainant make out its case in all respects under paragraph 4(a) of the Policy. Namely,
  the Complainant must prove that:

  (i) the Domain Names are identical or confusingly similar to a trade mark or service mark in which the Complainant has rights
  (paragraph 4(a)(i)); and

  (ii) the Respondent has no rights or legitimate interests in respect of the Domain Names (paragraph 4(a)(ii)); and

  (iii) the Domain Names have been registered and are being used in bad faith (paragraph 4(a)(iii)).

  6.2 The Panel will address each of these requirements in turn. However, before doing so, it is convenient to explain why the Panel
  did not accede to the Complainant's request that these proceedings be stayed and to respond to the Respondent's contention that
  this Complaint should be dismissed because the facts are essentially the same as those, and for the reasons given, in WIPO Case
  No. D2015­0222 and WIPO Case No. D2015­0252.

  A. Previous decisions and the Complainant's Request for a Stay

  6.3 As the Respondent points out, paragraph 4.1 of the WIPO Overview 2.0, although recognising that there is no formal doctrine of
  precedent under the Policy, records the view of panelists that it is desirable that decisions are "consistent with prior panel decisions
  dealing with similar facts". This, of course, does not mean that the mere fact that one or another party has succeeded in one case
  means that a panel should unquestionably come to the same conclusion in a similar case. Instead one would usually expect the
  panel deciding the latter case to engage with the reasoning in the earlier case and if it disagrees with the earlier case, to explain why
  this is so. That is the way in which discussion under the Policy progresses and, hopefully, consensus on certain issues is achieved.

  6.4 That is not to say that a panel must discuss and follow or distinguish every case cited by a party in proceedings. Some may be
  unremarkable and others may be historical and not reflect mainstream views on the operation of the policy. The WIPO Overview 2.0
  which sets out certain consensus positions, although similarly not binding on panels, is particularly useful in this respect.

  6.5 In the present case, the Respondent is perhaps making a different point. It contends that this is not just a case where the facts are
  similar to those in the earlier decisions relied upon. It claims that, save for the identity of the Domain Names involved, this case is
  factually identical to the two earlier cases decided in its favour and which involved connected, if not the same, parties. The Panel
  accepts that in such circumstances, if the Panel is to depart from the reasoning in these earlier cases, it should at least explain why
  this is so.

  6.6 In both WIPO Case No. D2015­0222 and WIPO Case No. D2015­0252 the panels did not reach a positive conclusion either that
  the Respondent had a right or legitimate interest under the Policy or that these were registrations in good faith. Instead, in WIPO Case
  No. D2015­0222 the majority of the panel concluded that "the Complainant has not carried its burden of proving that Respondent
  registered and used the Domain Names in bad faith within the meaning of the Policy". The only substantive reasoning that is
  provided in this respect is as follows:

  "As the sheer mass of documentation accompanying the parties' submissions in this case tends to indicate, this dispute is not well
  suited for resolution under the Policy. In this case, there are potential issues surrounding the Complainant's standing as purported
  licensee to bring this proceeding, the validity of the underlying trademark rights upon which the Complaint is based, possible
  trademark abandonment issues, the possible acquiescence of the purported licensors (Bartlett and Ritzio) in the Respondent's
  conduct, possible issues of the Complainant's unclean hands, and so forth.

  The Policy does not contemplate this Panel serving as a tribunal of general jurisdiction over any and all disputes which are somehow
  related to domain names. The issues raised by the parties here exceed the relatively narrow confines of the Policy, which is designed
  chiefly to address clear cases of cybersquatting. See, e.g., Libro v. NA Global Link, WIPO Case No. D2000­0186."

  6.7 The reasoning of the panel in WIPO Case No. D2015­0252 was slightly more detailed. In particular, it stated as follows:
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  "Complainant itself, citing prior cases decided under the Policy, points out to us that issues of trademark validity are generally outside
  the purview of UDRP proceedings. For that very reason (among others), Complainant's case fails. The facts of this case do not
  establish a clear­cut case of cybersquatting, and much of the substance of the dispute between the parties turns on issues of
  trademark ownership, validity, and licensing. If Complainant's predecessors in interest never had valid trademark rights in the marks,
  or if they have since become abandoned, Respondent would have every right to make such usage. These are complex issues best
  addressed through the court system rather than under the Policy.

  Considerable factual and legal disputes appear to remain regarding the validity of the trademarks owned by Ritzio and Bartlett, as
  well as about the precise scope of the rights conveyed to Complainant, and whether such scope includes the power to act under the
  Policy to challenge the registration or use by Respondent of domain names to which Complainant itself had no rights whatsoever at
  the time of the domain name registrations."

  It then proceeded to cite and adopt the reasoning of the Panel in WIPO Case No. D2015­0222.

  6.8 Although these and other decisions assert that the Policy was only designed to deal with "clear cut cases of cybersquatting", this
  is a statement that needs to be treated with some care. "Cybersquatting" is not a defined term under the Policy. Ultimately, what
  matters is whether the Complainant can show whether the requirements of paragraph 4(a) of the Policy are fulfilled. Similarly the
  words "clear cut" do not appear in the Policy. As has already been stated the test is one of on the balance of probabilities (or to use
  US terminology "the preponderance of the evidence"); See WIPO Overview 2.0 paragraph 4.7.

  6.9 In some cases there may be complex factual issues in dispute between the parties where who is right may be relevant to an issue
  in the UDRP proceedings but which a panel is ill­equipped to determine. In such cases, the panel may conclude that the complainant
  has not made out its case or simply dismiss the case without substantive comment regarding the Policy factors. Further, particular
  care may need to be taken where one of these issues is already before some court or other tribunal, which is better able to determine
  that issue. In such circumstances, a panel may consider it more appropriate to leave that issue to be determined in another forum.
  However, the mere fact that the parties may be involved in a broader and more complex dispute and even parallel proceedings does
  not necessarily mean that proceedings under the Policy cannot continue. It will depend upon exactly what is in dispute, what any
  other court or tribunal in any parallel proceedings is determining and whether either actually has any bearing on the issues the panel
  has to consider in proceedings under the Policy.

  6.10 As was stated in IFA Hotels & Resorts FZE v. Jaffar Sharif WIPO Case No. D2008­0895:

  "The Panel certainly accepts that there is broader dispute here between the parties and that the Panel should be wary of trespassing
  into areas that are the preserve of the relevant trade mark registries in which that dispute is ongoing. However, it does not follow
  simply from the fact of the existence of parallel proceedings that a Panel should refuse to consider the substance of the Complaint.
  Instead the Panel believes that the correct approach is to examine each of the requisite elements of the Policy in turn. In the context of
  that examination it may become apparent that there is a substantive factual dispute between the parties that cannot be resolved
  under the Policy and/or is being addressed and/or can be better determined in another forum. Only at this stage does the question
  raise its head whether the Panel should decline to consider that issue further."

  6.11 This is the approach that the Panel has decided to adopt in this case. As the Panel will describe, having conducted this exercise
  it has concluded that this case is not as complex as it first seems and that it is able to come to a determination as to whether each of
  the elements of the Policy has been shown.

  6.12 The Panel has also decided that it is neither necessary nor appropriate to grant the Complainant's request for a stay. The
  Complainant claims that the application by GGS to invalidate certain Russian marks is intended to delay the present proceedings
  under the Policy but states that a decision in those Russian proceedings would "purify the picture for the Panel regarding
  'questionable' issues raised by [the Respondent]". It, therefore, seeks a stay under Paragraph 18(a) of Rules. This paragraph states:

  "In the event of any legal proceedings initiated prior to or during an administrative proceeding in respect of a domain­name dispute
  that is the subject of the complaint, the Panel shall have the discretion to decide whether to suspend or terminate the administrative
  proceeding, or to proceed to a decision."

  6.13 The Respondent resists this application. It denies that it wants to delay the present proceedings and has "no interests other than
  to have [these UDRP proceedings] quickly and efficiently resolved". It also contends that the Russian proceedings "are not directly
  related to the [D]omain [N]ames at issue in this proceeding" and that therefore paragraph 18(a) of the Rules does not apply.

  6.14 Whether or not paragraph 18(a) applies depends upon whether court or other proceedings seeking to invalidate a trade mark
  that is relied upon in UDRP proceedings (as opposed to proceedings in relation to the relevant domain name itself) are proceedings
  "in respect of a domain­name dispute". No decision has been cited by either party in this respect and the Panel has been unable to
  find any case which directly addresses this issue.

  6.15 In the absence of more detailed argument from either of the Parties, the Panel is unconvinced that paragraph 18(a) applies, but
  ultimately it does not matter. The reason is that even if it does, the issue of whether or not to stay the proceedings is a matter of
  discretion for the Panel. In this case, the Panel has formed the view that it is possible to come to a determination in these
  proceedings, regardless of the ultimate outcome of the Russian proceedings. In these circumstances, there is no good reason for
  exercising its discretion so as to order a stay and it declines to do so.

  B. Identical or Confusingly Similar

  6.16 Each of the Domain Names, can only be sensibly read as the term "Vulcan" in combination with some non­distinguishing
  ordinary word such as "club" or "casino" and the ".co" country code Top Level Domain ("ccTLD") or the ".net", ".com" or ".org" generic
  Top Level Domains (gTLDs). The addition of the number "2", in the case of one of the Domain Names, does not prevent such a
  reading.

  6.17 The Panel also accepts that the term "Vulcan" is phonetically identical to the Complainant's VULKAN word marks identified in
  paragraph 4.5 (iii) above. Given this, the Domain Names are each "confusingly similar" (as that term is understood under the Policy),
  with a trade mark in which the Complainant has rights.
http://www.wipo.int/amc/en/domains/decisions/text/2015/d2015­0875.html                                                                      6/9
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  6.18 This international registration and the marks that flow from it were initially based upon a Russian trade mark. That Russian
  registration now appears (at least in part) to be subject to challenge. However, the Respondent's attempt to cast doubt on the validity
  of the non­Russian marks because they "may still be" dependent on the original Russian registration is wholly unconvincing. The
  relevant international registration is over 5 years old and therefore under Article 6 of the Madrid Protocol these registrations are no
  longer dependent upon the original Russian marks. Therefore, even if the current invalidity proceedings are successful, the
  Complainant will still have registered trade marks for the term "Vulcan" elsewhere. The Respondent does not contend that these
  other marks are invalid for any other reason.

  6.19 The ownership of a trade mark registered with a recognised trade mark office is sufficient for the purposes of paragraph 4(a)(i) of
  the Policy to show rights in a mark. As is recorded at paragraph 1.1 of the WIPO Overview 2.0:

  "If the complainant owns a trademark, then it generally satisfies the threshold requirement of having trademark rights. The location of
  the trademark, its date of registration (or first use)…and the goods and/or services for which it is registered, are all irrelevant for the
  purpose of finding rights in a trademark under the first element of the UDRP. However, such factors may bear on a panel's
  determination whether the respondent has registered and used the domain name in bad faith under the third element of the UDRP."

  6.20 In the circumstances, the Complainant has made out the requirements of paragraph 4(a)(i) of the Policy.

  6.21 The Panel notes that in both WIPO Case No. D2015­0222 and WIPO Case No. D2015­0252 one of the issues that concerned
  the panels was the fact that the complainant in those cases (a putative licensee of the Complainant here) was not the owner of the
  marks relied upon. Instead, it claimed to be a licensee of the relevant marks and the scope and validity of that licence appeared to be
  contested. This is not an issue in the present case as the Complainant is the registered owner of the relevant registered marks.

  C. Rights or Legitimate Interests

  6.22 The Respondent's claim in support of their having rights or legitimate interests is essentially that as the Complainant's trade
  mark rights are liable to revocation in Russia for non­use, the Respondent can as a matter of Russian law, legitimately adopt those
  trade marks in connection with its business in Russia without infringing any right of the Complainant. The Respondent therefore
  contends that it can lawfully use these Domain Names in Russia and that consequentially the Respondent has rights or legitimate
  interests in the same.

  6.23 As explained above, the Panel considers it inappropriate to venture upon a discussion as to whether the Complainant's marks
  are, or are not, valid in Russia. In any event, it is prepared to assume (without deciding) in the Respondent's favour that these marks
  are indeed invalid and unenforceable in Russia by reason of their non­use. However, it does not necessarily and inevitably follow
  from this that the Respondent has rights or legitimate interests in the Domain Names.

  6.24 This Respondent's argument assumes that simply because the use of a domain name cannot be stopped as a matter of local
  law in a particular country then the registrant must have a right or legitimate interest in that domain. However, the Panel does not
  think this is right. It is not uncommon under the Policy for a complainant to own registered trade mark rights in a term in a large
  number of countries and for that term also to be known in other countries where a mark has not yet been obtained. Should someone
  register and use a domain name that incorporates that term in a country where trade mark rights do not yet exist with a view to taking
  unfair advantage of that reputation (for example to sell a competing product), it is unlikely that under the Policy the registrant will have
  a relevant right or legitimate interest. This is so, even if the complainant cannot demonstrate that the registrant's use of the domain
  name is unlawful in a particular jurisdiction.

  6.25 Of course, the present case is not one where the Complainant has not got round to applying for a mark in Russia. It is one where
  those marks have been obtained but are claimed to be invalid. But the point is that the existence of a right or legitimate interest for the
  purposes of the Policy and whether the use of a domain name is unlawful as a matter of local law, is not necessarily the same thing.

  6.26 This is a point that is also addressed in Paragraph 4.15 of the WIPO Overview 2.0. This states as follows:

  "Paragraph 15(a) of the UDRP provides that a panel shall decide a complaint on the basis of the statements and documents
  submitted and in accordance with the UDRP, the UDRP Rules, and any rules and principles of law that it deems applicable. Rooted
  in generally­recognized principles of trademark law, and designed to operate in the context of the world wide web, the decision
  framework of the UDRP generally does not require resort to concepts or jurisprudence specific to national law (other than with
  respect to the question of whether trademark rights exist). For example, WIPO panels have recognized that bad faith under the UDRP
  may be assessed by reference to the consistent body of prior UDRP decisions."

  6.27 For rights or legitimate interests to exist under the Policy, usually something else other than mere absence of illegality is
  required. Non­exclusive examples of that "something else" are to be found in paragraph 4(c) of the Policy. This states that any one of
  the following will demonstrate rights or legitimate interests:

  "(i) before any notice to you of the dispute, your use of, or demonstrable preparations to use, the domain name or a name
  corresponding to the domain name in connection with a bona fide offering of goods or services;

  (ii) you (as an individual, business, or other organization) have been commonly known by the domain name, even if you have
  acquired no trademark or service mark rights; and

  (iii) you are making a legitimate noncommercial or fair use of the domain name, without intent for commercial gain to misleadingly
  divert consumers or to tarnish the trademark or service mark at issue."

  6.28 Paragraph 4(c)(iii) is not relevant in this case since the Respondent's use of the Domain Names is commercial in nature. So far
  as paragraph 4(c)(ii) is concerned, the Respondent does not contend that it is commonly known by any of the Domain Names or the
  term "Vulcan" nor is there any evidence in the record that supports such a position. Indeed, as the Panel goes on to address in
  greater detail in the context of the discussion of bad faith later on in this decision, it seems to be undisputed that the way in which the
  Respondent (or those to whom it has handed control of the Domain Names) has conducted business is to represent to the Russian
  speaking public that the person responsible for the websites operating from the Domain Names either is the Complainant or is in
  some manner the legitimate successor in business to the Complainant, when in reality it is not. One cannot claim to be commonly
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  known by a name in circumstances where one is using that name to impersonate someone else.

  6.29 Further, so far as paragraph 4(c)(i) is concerned, it appears to be undisputed that the Respondent was aware of the
  Complainant's claimed rights when it registered and started to use the Domain Names. Accordingly, it is highly questionable whether
  the Respondent's use was before notice of the relevant dispute. Further and in any event, the Panel is of the view that the use of a
  name or trade mark so as to impersonate another does not constitute a bona fide offering of goods or services under the Policy.
  Indeed, such activity is usually seen as a positive indicator that rights or legitimate interests do not exist (see, for example, Saks &
  Company v. saksfifthavenue­hours.net, WIPO Case No. D2014­1194)

  6.30 The Panel also notes that the Respondent contends at great length that gambling in Russia is illegal. The Panel is not in a
  position to conclude as to whether this is right or wrong. This is precisely the sort of issue which is ill suited to determination under the
  UDRP. Nevertheless, it is worth recording that this is an argument which if correct, undermines rather than supports the Respondent's
  case.

  6.31 As far as the Panel can tell, this argument as to the legality of gambling law is advanced to provide the reason why the
  Complainant cannot have used its marks in Russia for a number of years and therefore why its Russian marks must be invalid. As
  has already been explained, even if the Panel would be prepared to accept for the purposes of these proceedings that the
  Complainant's marks are invalid based on the illegality of gambling in Russia, given that the Respondent's activities also involve
  gambling and are primarily directed to persons in Russia, it follows that the Respondent's own activities are also illegal.

  6.32 Therefore, it would appear that the Respondent is trying to contend that it has rights or legitimate interests in the Domain Names
  because its activities are not contrary to Russian trade mark law even though it posits that those same activities are illegal as a matter
  of Russian gambling law. The Respondent cannot simultaneously have its cake and eat it.

  6.33 In the circumstances, the Panel finds that Complainant has made out the requirements of paragraph 4(a)(ii) of the Policy.

  D. Registered and Used in Bad Faith

  6.34 Despite the extensive arguments put forward by the Respondent, there appears to be no real dispute that the Respondent was
  aware of the Complainant's marks at the time that the Domain Names were registered and has essentially set up websites that are
  intended to lead Internet users to believe that these have been set up by the Complainant or by an entity that is the Complainant's
  successor in business.

  6.35 This is apparent not only from the fact that the websites prominently display the Volcano Design Mark, but also from the text that
  appears on these websites. For example, according to the undisputed translations provided in the Complainant, the following text
  appears on the website that is or was displayed from four of the Domain Names:

  "Surely you are familiar with our brand, because not so long ago the gaming club 'Volcano' with blue­red sign can be found in any
  large, and not very city. Without false modesty we can say that Vulkan had the largest network of gaming clubs in Russia and
  Moscow. And now ­ in 2011 ­ we are glad to see you on our official web­site!"

  6.36 The reference to the brand and the reference to "Vulkan [having] had the largest network of gaming clubs in Russia and
  Moscow" is clearly a reference to the Complainant. As such this text provides clear evidence as to both the reputation of the
  Complainant's marks in 2011 in Russia and the Respondent's own knowledge of the Complainant's marks at that time. Further, the
  sentence that follows this and the reference to this being an "official website" can only be sensibly understood as amounting to a
  claim that the operator of the website is either the business that used to run the Complainant's "network of gaming clubs" or somehow
  connected or authorised by the entity that did.

  6.37 The Respondent contends that Complainant has consented to the registration and use of the Domain Names in this manner.
  Were this true, that would most likely provide an answer to the Complainant's claims in this case. However, there is no real evidence
  before the Panel to this effect. Although Mr. Sevostianov claims this to be the case in an affidavit, this is little more than a bare
  assertion. No further explanation, elaboration or evidence as to exactly what form such consent took is provided. There is a reference
  to joint venture discussions, but it is not alleged that the Respondent's activities have been pursuant to such a joint venture and the
  mere fact that one enters into joint venture discussions with someone does not mean that one is implicitly, let alone explicitly,
  consenting to their activities to that date.

  6.38 At its heart, therefore, and despite the extensive argument and submissions filed by both the Parties, ultimately this is a relatively
  simple case of impersonation. The Respondent (or at least persons on behalf of whom the Respondent has registered the Domain
  Names) has registered and is using the Domain Names in order to pass themselves off as the Complainant (or in some way
  authorised by the Complainant) when it is not, in order to thereby draw Internet users to gambling websites for commercial gain.
  Registration and use of a domain name for such a purpose is a classic example of registration and use in bad faith. So far as use is
  concerned it is activity that falls within the scope of paragraph 4(b)(iv) of the Policy.

  6.39 Whether such impersonation and passing off offends against Russian trade mark law the Panel is not in a position to say.
  However, in the opinion of the Panel even if it does not offend against Russian law, that does not prevent a finding of bad faith
  registration and use in this case.

  6.40 In the circumstances, the Panel concludes that Complainant has made out the requirements of paragraph 4(a)(iii) of the Policy.



  7. Decision

  7.1 For the foregoing reasons, in accordance with paragraphs 4(i) of the Policy and 15 of the Rules, the Panel orders that the Domain
  Names <casino­vulcan.co>, <cazino­vulcan.com>, <club­vulcan.com>, <vulcan­casino.co>, <vulcan­casino2.com>, <vulcan­
  cazino.net> and <Vulcan­cazino.org> be transferred to the Complainant.

  Matthew S. Harris
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  Presiding Panelist

  Olga Zalomiy
  Panelist

  Paul M. DeCicco
  Panelist
  Date: August 12, 2015




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                             WIPO Arbitration and Mediation Center


                                                     ADMINISTRATIVE PANEL DECISION
         Ritzio Purchase Limited v. Private Whois, Global Domain Privacy Services Inc. / Sergey Budusov, Infostar
                                                     Management Ltd
                                                                Case No. D2015­1106



  1. The Parties

  The Complainant is Ritzio Purchase Limited of Nicosia, Cyprus, represented by Mapa Trademarks SL, Spain.

  The Respondents are Private Whois, Global Domain Privacy Services Inc. of Marbella, Panama / Sergey Budusov, Infostar
  Management Ltd of London, the United Kingdom of Great Britain and Northern Ireland, represented by Boston Law Group, PC,
  United States of America.



  2. The Domain Names and Registrar

  The Disputed Domain Names <bestvulkan.net>, <moivulcan.com>, <vulkandelux.com>, <vulkandeluxe.com>, <vulkanplay.com> are
  registered with URL Solutions, Inc. (the “Registrar”).



  3. Procedural History

  The Complaint was filed with the WIPO Arbitration and Mediation Center (the “Center”) on June 29, 2015. On June 29, 2015, the
  Center transmitted by email to the Registrar a request for registrar verification in connection with the Disputed Domain Names. On
  July 1, 2015, the Registrar transmitted by email to the Center its verification response disclosing registrant and contact information for
  the Disputed Domain Names which differed from the named Respondent and contact information in the Complaint. The Center sent
  an email communication to the Complainant on July 8, 2015 providing the registrant and contact information disclosed by the
  Registrar, and inviting the Complainant to submit an amendment to the Complaint. The Complainant filed an amended Complaint on
  July 13, 2015.

  The Center verified that the Complaint together with the amended Complaint satisfied the formal requirements of the Uniform Domain
  Name Dispute Resolution Policy (the “Policy” or “UDRP”), the Rules for Uniform Domain Name Dispute Resolution Policy (the
  “Rules”), and the WIPO Supplemental Rules for Uniform Domain Name Dispute Resolution Policy (the “Supplemental Rules”).

  In accordance with the Rules, paragraphs 2(a) and 4(a), the Center formally notified the Respondents of the Complaint, and the
  proceedings commenced July 17, 2015. In accordance with the Rules, paragraph 5(a), the due date for Response was August 6,
  2015. The Response was filed with the Center on August 6, 2015.

  On September 8, 2015, the Center received the Complainant’s supplemental filing. On September 13, 2015, the Center received the
  Respondent’s supplemental filing. On September 17, 2015, the Center received a second supplemental filing from the Complainant.

  The Center appointed Charné Le Roux, Assen Alexiev and Paul M. DeCicco as panelists in this matter on September 16, 2015. The
  Panel finds that it was properly constituted. Each member of the Panel has submitted the Statement of Acceptance and Declaration of
  Impartiality and Independence, as required by the Center to ensure compliance with the Rules, paragraph 7.



  4. Factual Background

  The Complainant is a Cyprus based company and has, since 1992, conducted business in the field of gaming, casino and
  entertainment products and services under the trade marks ВУЛКАН (which is translated into English as VOLCANO or VULCAN),
  ВУЛКАН and LIGHTINGBOLT design in red, blue and yellow colour combinations, VULCAN, VULKAN and VOLCANO (hereinafter
  the VULKAN trade marks). The Complainant operates over 200 branded gaming clubs and more than 5,800 gaming machines
  throughout Europe. It has more than 2,000 employees and operations in countries including Germany, Romania, Latvia, Belarus,
  Croatia and Italy. The Complainant’s operating revenue between the periods 2006 and 2010 was in excess of USD 5.5 billion.

  The Complainant owns trade mark registrations for the VULKAN trade marks as indicated in the schedule below:



http://www.wipo.int/amc/en/domains/decisions/text/2015/d2015­1106.html                                                                     1/8
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   COUNTRY                          TRADE MARK                           REGISTRATION NO   REGISTRATION DATE


   International Registration       ВУЛКАН & design                                        September 3, 2002
   designating:                                                          791038

   Armenia

   Azerbaijan

   Belarus

   Estonia

   Georgia

   Kyrgystan

   Kazakhstan

   Lithuania

   Latvia

   Moldova

   Tajikistan

   Turkmenistan

   Ukraine

   Uzbekistan


   Russian Federation               VULKAN                               353692            November 18, 2005


   Russian Federation               ВУЛКАН & design                                        January 28, 2008
                                                                         342290




   International Registration       VOLCANO                              989103            August 11, 2008
   designating:

   Belarus

   European Community

   Croatia

   Kazakhstan

   Serbia

   Ukraine


   Russian Federation               ВУЛКАН & design                      342291            January 28, 2008




   Russian Federation               ВУЛКАН & design                                        June 25, 2008
                                                                         353694



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   International Registration       ВУЛКАН & design                      992196                       October 17, 2008
   designating:

   Belarus

   Kazakhstan

   Ukraine


   International Registration       ВУЛКАН & design                                                   August 12, 2008
   designating:                                                          977713

   Belarus

   Kazakhstan

   Ukraine


   International Registration       VULKAN                               984297                       August 11, 2008
   designating:

   Belarus

   European Community

   Croatia

   Kazakhstan

   Serbia

   Ukraine


  The registrations extend to goods and services in the field in which the Complainant operates, particularly gaming and entertainment
  services in class 41.

  In respect of International registration no. 791038, the mark proceeded to grant in all the designated territories.

  In respect of International trade mark no. 989103, the mark proceeded to grant unchanged in Belarus, Croatia and Serbia. In
  Kazakhstan, it has been subject to provisional refusal. It proceed to grant in the other designated countries, save for a modified set of
  goods and services e.g. the application proceeded to grant as a Community Trade Mark in respect of goods and services in classes
  16, 21, 25, 28, 35, 39, 41, 43 and 45.

  In respect of International trade mark no. 992196, the mark was provisionally refused in Kazakhstan, totally refused in Belarus and
  proceed to grant in the remaining territory of Ukraine in respect of goods and services in classes 3,18, 24, 25, 26, 27, 32, 33, 34 and
  36.

  In respect of International trade mark registration no. 977713, the mark was provisionally refused in Kazakhstan and proceeded to
  grant in the other designating countries save for a modified set of goods and services e.g. the mark proceeded to grant in Ukraine in
  respect of goods and services in classes 3,18, 24, 25, 26, 27, 32, 33, 34 and 36.

  In respect of International trade mark no. 984297, the mark proceeded to grant unchanged in Croatia. It was refused in Ukraine and
  provisionally refused in Kazakhstan. It proceeded to grant in all the other designated countries in respect of a modified set of goods
  and services e.g. the application proceeded to grant as a Community Trade Mark in respect of goods and services in classes 9, 16,
  21, 28, 35, 38, 39, 41, 42, 43 and 45.

  The Respondents affiliate, and the operator of the Disputed Domain Names, GGS Ltd, filed cancellation proceedings in respect of all
  the Russian registrations on July 24, 2015, shortly after notification to the Respondents of these proceedings.

  The Disputed Domain Names were registered on the following dates:

  <bestvulkan.net> March 7, 2014

  <vulkandeluxe.com> March 27, 2013

  <vulkandelux.com> March 27, 2013

  <moivulcan.com> May 20, 2014

http://www.wipo.int/amc/en/domains/decisions/text/2015/d2015­1106.html                                                                      3/8
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  <vulkanplay.com> July 10, 2012

  All the websites associated with the Disputed Domain Names offer online gaming services. They all incorporate the ВУЛКАН and
  ВУЛКАН and LIGHTINGBOLT design trade marks, including the colour combinations red, blue and yellow. The websites are in the
  Russian language.

  Three previous UDRP decisions are relevant to the matter and were specifically relied on by the parties namely, EvoPlay LLC v. Mr
  Timur Ziganshin / Moniker Privacy Services / Timur , WIPO Case No. D2015­0222; EvoPlay LLP v. Mardiros Haladjian / GGS Ltd.,
  WIPO Case No. D2015­0252; and Ritzio Purchase Limited v. Domain Admin, PrivacyProtect.org / Timur Ziganshin / Lianna Tall,
  Escave Ltd / Private Whois, Global Domain Privacy Services Inc / Moniker Privacy Services, WIPO Case No. D2015­0875. These
  decisions are discussed in more detail in the decision.



  5. Parties’ Contentions

  A. Complainant

  The Complainant submits that it has acquired rights in the VULKAN trade marks as a consequence of:

  a. The registration of its trade marks in the Russian Federation and as International trade marks over the period 2002 to 2008; and

  b. Its substantial use of the VULKAN trade marks for over 20 years and its global online presence and physical operations in
  numerous countries including Germany, Romania, Latvia, Belarus, Croatia and Italy.

  The Complainant contends that its VULKAN trade marks are well known and it supports this contention with evidence indicating that it
  operates more than 200 branded gaming clubs, has more than 5,800 gaming machines, employs more than 2,000 people in
  operations in the countries mentioned above and its substantial operating revenue also indicated above. Its evidence included
  independent and in­house sources speaking to the Complainant’s activities and growth. The Complainant also mentions recognition
  that it received from the International Gaming Awards for its commitment for Corporate Social Responsibility in 2005.

  The Complainant argues that the Disputed Domain Names are identical or confusingly similar to its VULKAN trade marks, stating that
  the Disputed Domain Names wholly incorporate its VULKAN and VULCAN trade marks, adding only the generic terms “best”,
  “deluxe”, “deluxe”, “play” and “moi” (being a Russian word that means “my” in English). It contends that these generic terms do not
  affect the confusing similarity of the Disputed Domain Names and trade marks.

  The Complainant contends that the Respondents lack rights or legitimate interests in the Disputed Domain Names in that:

  a. the Respondents are not licensees of the Complainant nor have they received any permission or consent from the Complainant to
  use its trade marks.

  b. The Complainant registered its trade marks prior to the registration of the Disputed Domain Names.

  c. The Respondents are not commonly known by the Disputed Domain Names.

  d. The Respondents’ sole intention in adopting the Disputed Domain Names was to attract Internet users for commercial gain to the
  Respondents’ websites by creating a likelihood of confusion.

  e. The business that the Respondents conduct at the Disputed Domain Names does not constitute legitimate, noncommercial or fair
  use of the Disputed Domain Names, in that online casinos operate at the websites associated with the Disputed Domain Names and
  that these websites incorporate exact copies of the ВУЛКАН and ВУЛКАН and LIGHTINGBOLT design trade marks, including the
  colour combinations red, blue and yellow, imitating the look and feel of the Complainant’s gaming clubs.

  The Complainant further contends that the Disputed Domain Names were registered and are being used in bad faith. The
  Complainant argues that given the trade mark registrations and reputation and widespread use of the VULKAN trade marks, the
  Respondents’ use of the Disputed Domain Names would constitute an infringement of the Complainant’s trade mark rights. The
  Complainant also points out that all the Disputed Domain Names operate as full functional online casinos created for commercial
  gain and that the use of the VULKAN trade marks for this purpose demonstrates the Respondents’ intention to attract Internet users to
  the Respondents’ website by creating a likelihood of confusion. The Complainant submits that the Respondents maximize the effect
  of the confusion by using exact colour copies of the ВУЛКАН and LIGHTINGBOLT design trade mark in the navigation panel on the
  top of each website page.

  The Complainant also submits that the fact that the Respondents concealed themselves behind a privacy service and also excluded
  any legitimate contact information on the website pages associated with the Disputed Domain Names (there is an email address and
  Russian phone numbers on the websites which seem to be non­existent), also indicate the Respondents’ bad faith.

  The Complainant lastly provides translated pages of the said websites, pointing out the following texts that clearly refer to the
  Complainant’s history: “Excitement, prestige, honesty: more than 20 years Slots Volcano combine these three concepts. Visiting the
  house’s residents have already visited Russia, Ukraine, Kazakhstan as well as foreign countries” and “Game club VOLCANO gives it
  players the best opportunity for the perfect pastime in the online casino, being original and only real club VOLCANO could guarantee
  the integrity of the game and the maximum safety of your data”. The Complainant submits that the Respondents use the words
  “original” and “only real” in the text above specifically to emphasize their connection to the Complainant.

  The Complainant requests that the Disputed Domain Names be transferred to it.

  B. Respondents

  In the very substantial Response filed, the Respondents submit in connection with the Complainant’s trade mark rights:
http://www.wipo.int/amc/en/domains/decisions/text/2015/d2015­1106.html                                                                  4/8
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  a. That the Complainant’s trademark registrations in the Russian Federation are invalid on the basis that the provision of all casino
  and gambling services (save for 4 government approved locations) were effectively banned in the Russian Federation in 2009 and
  that any continued claim for protection for any gambling related activities by the Complainant in that territory would be unlawful. They
  also state that since the Complainant has, as a consequence of the ban, not used its trade marks in the Russian Federation for longer
  than the statutory non­use period, the registrations are vulnerable to cancellation also on the ground of non­use. They point out that
  cancellation proceedings were filed by the operator of the websites at the Disputed Domain Names namely, GGS Ltd, on July 24,
  2015;

  b. That the Complainant’s International trademark registrations are invalid, since they are dependent upon the validity of their
  underlying Russian registrations, with reference to Article 6 of the Madrid Protocol;

  c. That the Complainant shares rights in the VULKAN trade marks with other parties. The Respondents refer in this regard to refusals
  from national intellectual property registries and objections from third parties to the International registrations, giving rise to the
  provisional refusals and limitations dealt with in the Factual Background above. The Respondents also argue that VOLCANO related
  imagery is popular in the context of gambling and that gambling related trade marks frequently incorporate references to volcanoes
  and volcano related imagery. It refers to the volcano at the Mirage Casino in Las Vegas in this respect.

  The Respondents contend in connection with their rights and/or legitimate interests in respect of the Disputed Domain Names that
  there was a relationship between the Complainant and the operator of the website associated with the Disputed Domain Names,
  GGS Ltd. They contend that GGS Ltd has operated the Disputed Domain Names and their affiliated websites with the implicit consent
  of the Complainant for nearly four years and that there have been extensive discussions between GGS Ltd and the Complainant
  regarding possible joint projects. The Respondents argue that the Complainant’s conduct in this regard constitutes acquiescence
  and implied consent to the Respondents’ and GGS Ltd’s use of the VULKAN trade marks and operation of the Disputed Domain
  Names.

  The Respondents state further that since the Complainant had not been operating in the Russian Federation or Ukraine under the
  VULKAN trade marks for four years at the time that the Respondents first registered the Disputed Domain Names, the Complainant
  could not, because of the ban on gambling by the Russian Federation, make any use of these trade marks in future. The
  Respondents submit that they had a good faith belief that they were not infringing any legitimate trade mark rights when they
  registered the Disputed Domain Names which they indicate, was to be used in the Russian Federation and Ukraine.

  The Respondents deny that the Disputed Domain Names were registered or used in bad faith because they had a legitimate and
  plausible non­infringing reason for registering them for the reasons set out above. Furthermore that the websites associated with the
  Disputed Domain Names are not copycat websites that compete with the Complainant as the Complainant does not operate online
  gaming services in the Russian Federation or Ukraine where the Disputed Domain Names are used, or elsewhere in the world. They
  also state that the websites have been operating openly and with the implicit consent of the Complainant for nearly four years and
  consequently that the Complainant’s acquiescence and implied consent invalidate the Complainant’s argument based on bad faith.

  The Respondents also deny that there is any bad faith to be attached to the use of the privacy service and that there are many
  legitimate reasons for such a service. The Respondents state that the Complainant has brought the current proceeding in bad faith
  and in an attempt to reverse hijack the Disputed Domain Names.

  The Respondents deal finally with the prior UDRP proceedings. As the decision in the matter involving Ritzio Purchase Limited v.
  Domain Admin, PrivacyProtect.org / Timur Ziganshin / Lianna Tall, Escave Ltd / Private Whois, Global Domain Privacy Services Inc /
  Moniker Privacy Services, WIPO Case No. D2015­0875, had not been published at the time they filed their Response, they refer
  mainly to the first two UDRP decisions EvoPlay LLC v. Mr Timur Ziganshin / Moniker Privacy Services / Timur supra, and EvoPlay LLP
  v. Mardiros Haladjian / GGS Ltd. supra, pointing out that in both those decisions, the complaints were denied on the basis that the
  issues were not suited for resolution under UDRP proceedings. The Respondents argue that because the parties and issues in those
  proceedings and in this Complaint are virtually identical, the Panel in this proceeding should follow the decisions in the previous
  proceedings. They submit that the issues raised in this proceeding are outside the scope of the type of proceedings contemplated by
  the Policy and are better decided by traditional means.

  C. Supplemental Filings

  The Complainant filed supplemental evidence referring to the publication of the decision in Ritzio Purchase Limited v. Domain
  Admin, PrivacyProtect.org / Timur Ziganshin / Lianna Tall, Escave Ltd / Private Whois, Global Domain Privacy Services Inc / Moniker
  Privacy Services, WIPO Case No. D2015­0875, and indicates that this decision, which found in favour of the Complainant, should be
  followed in this instance. The Respondents replied to the supplemental filing of the Complainant, stating that judicial proceedings
  had been filed in the Seychelles both for a declaratory order that the Respondents do not infringe the Complainant’s rights in respect
  of its trade marks and a prohibition in respect of the transfer of the Disputed Domain Names in the matter referenced above. This
  triggered a second supplemental filing by the Complainant, reiterating that the court proceedings instituted by the Respondents were
  purely in order to halt the transfer of the disputed domain names so that the Respondents could continue to parasitize on the
  VULKAN trade marks and that the lawsuit was filed only to create complexity in this matter. It also took issue with the fact that the
  lawsuit had been filed in the Seychelles as opposed to the Russian Federation, where one of the Respondents, Timur Ziganshin, was
  resident, and state that this was done to avoid exposure of the unlawful gaming services provided by the Respondents in the Russian
  Federation.



  6. Discussion and Findings

  In accordance with paragraph 4(a) of the Policy, for this Complaint to succeed in relation to the Disputed Domain Names, the
  Complainant must prove on a balance of probabilities:

  (i) that the Disputed Domain Names are identical or confusingly similar to a trade mark or service mark in which it has rights;

  (ii) that the Respondents have no rights or legitimate interests in respect of the Disputed Domain Names; and

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  (iii) that the Disputed Domain Names have been registered and are being used in bad faith.

  A. Supplemental Filings

  Unsolicited supplemental filings should be allowed only in exceptional circumstances, in line with the Policy objective of delivering
  prompt and effective resolution of domain name disputes. See WIPO Overview of WIPO Panel views of Selected UDRP Questions,
  Second Edition (“WIPO Overview 2.0”) at paragraph 4.2. These exceptional circumstances generally involve matters that arise after
  the initial pleadings were filed and which could not reasonably have been anticipated at that time. In this instance, the decision in
  Ritzio Purchase Limited v. Domain Admin, PrivacyProtect.org / Timur Ziganshin / Lianna Tall, Escave Ltd / Private Whois, Global
  Domain Privacy Services Inc / Moniker Privacy Services, WIPO Case No. D2015­0875, as well as the filing of the proceedings in the
  Seychelles arose after the initial pleadings were filed and the supplemental filings by the Complainant and the Respondents will
  consequently be admitted in accordance with paragraph 10 of the Rules.

  B. Previous UDRP decisions

  The three previous UDRP decisions relied on by the parties namely, EvoPlay LLC v. Mr Timur Ziganshin / Moniker Privacy Services /
  Timur, WIPO Case No. D2015­0222; EvoPlay LLP v. Mardiros Haladjian / GGS Ltd., WIPO Case No. D2015­0252; and Ritzio
  Purchase Limited v. Domain Admin, PrivacyProtect.org / Timur Ziganshin / Lianna Tall, Escave Ltd / Private Whois, Global Domain
  Privacy Services Inc / Moniker Privacy Services, WIPO Case No. D2015­0875, involved parties similar to/connected with the parties in
  this matter. The trade marks that formed the basis of those complaints were identical and the same legal arguments were advanced
  by the parties. In the first two decisions the complaints were rejected largely because the panels took the view that the issues raised
  by the parties, which included the validity of the trade mark rights, the complainants’ standing as purported licensees and trade mark
  abandonment/acquiescence arguments, were complex issues which exceeded the relatively narrow confines of the Policy. The
  panels in these disputes did not, as a consequence, consider the merits of the matters. The panel in the last matter came to a
  decision based on the merits after it had conducted an examination of the requisite elements of the Policy and found that the case
  was not as complex as it first seemed, and that it was able to come to a determination as to whether each of the elements of the Policy
  had been shown.

  The UDRP does not operate a strict doctrine of precedent, although it is desirable that panel decisions are consistent, especially
  where they deal with similar fact situations, to allow the UDRP system to operate in a fair, effective and predictable manner. See
  WIPO Overview 2.0 at paragraph 4.1. Panels should not, however, blindly follow previous decisions simply because there are similar
  facts. They should conduct an independent, thorough, examination of each of the Policy elements and if they disagree with earlier
  cases, an explanation must be provided. This is the approach that the Panel in this matter has also adopted, in line with the decisions
  in Ritzio Purchase Limited v. Domain Admin, PrivacyProtect.org / Timur Ziganshin / Lianna Tall, Escave Ltd / Private Whois, Global
  Domain Privacy Services Inc / Moniker Privacy Services, WIPO Case No. D2015­0875 and IFA Hotels & Resorts FZE v. Jaffar Sharif,
  WIPO Case No. D2008­0895.

  C. Identical or Confusingly Similar

  The Complainant has furnished evidence of trade mark registrations for the VULKAN trade marks currently on the Russian Trade
  Marks Register, as well as International trade marks. The fact that cancellation applications were filed in respect of the Russian
  registrations after these proceedings commenced do not assist the Respondent in defeating the Complainant’s rights claim under this
  threshold requirement. Even if the Russian registrations are eventually cancelled, this still leaves the International registrations in
  respect of which the Respondent’s invalidation argument seems to be incorrect in law. At least International trade mark registration
  no. 791038 was over 7 years old in 2009 when gambling was banned in the Russian Federation and therefore, under Article 6 of the
  Madrid Protocol, it can no longer be affected by the fate of the original Russian trade mark registration.

  The Complainant has also produced evidence of use of its VULKAN trade marks in commerce, claiming that its trade marks have, as
  a consequence, become well known. The Respondents did not dispute the evidence that the Complainant provided regarding its
  extensive use in commerce, save to state that the Complainant shares rights in the trade marks VULKAN, VOLCANO with other
  entities in the gambling industry. The strength of a trade mark and how many others have similar marks are not taken into account
  under this Policy requirement, although it may be of relevance in determining a respondent’s right or legitimate interest or even bad
  faith in respect of a disputed domain name. The inquiry under this element of the Policy concerns only a mark in which the
  Complainant currently has rights and identity or confusing similarity with the Disputed Domain Names. UDRP panels typically apply a
  low threshold test under the first element of a UDRP complaint. See Research in Motion Limited v. One Star Global LLC., WIPO Case
  No. D2009­0227.

  Consequently, the Panel finds that the Complainant has succeeded in proving that it has rights in the VULKAN trade marks. The
  Panel also has no difficulty in finding that the Disputed Domain Names are confusingly similar to the trade marks in issue. They all
  wholly incorporate at least one of the VULKAN trade marks, combined with common and descriptive terms. With respect to
  <moivulcan.com>, the Panel accepts that the term “Vulcan” is phonetically identical to the Complainant’s VULKAN word mark. The
  Respondents have also not disputed the Complainant’s argument that the Disputed Domain Names are confusingly similar to its
  VULKAN trade marks.

  The Panel finds that the Complainant has satisfied this Policy requirement.

  D. Rights or Legitimate Interests

  Paragraph 4(a)(ii) of the Policy requires the Complainant to prove a negative, namely that the Respondents lack rights or legitimate
  interests in the Disputed Domain Names. This is accomplished as follows:

  “Therefore a complainant is required to make out a prima facie case that the respondent lacks rights or legitimate interests. Once
  such a prima facie case is made, the burden of production shifts to the respondent to come forward with appropriate allegations or
  evidence demonstrating rights or legitimate interests in the domain name. If the respondent fails to come forward with such
  appropriate allegations or evidence, a complainant is generally deemed to have satisfied paragraph 4(a)(ii) of the UDRP. If the
  respondent does come forward with some allegations or evidence of relevant rights or legitimate interests, the panel then weighs all

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  the evidence with the burden of proof always remaining on the complainant.” See WIPO Overview 2.0 at paragraph 2.1.

  The Respondents argue that the vulnerability of the Complainant’s rights in the Russian Federation provided them with the bona fide
  use that they require in order to succeed in showing rights and/or legitimate interests. They also submit in connection with their rights
  and legitimate interests that the Complainant shares rights in the VULKAN trade marks with other parties and lastly that there was a
  relationship between the Complainant and the website operator associated with the Disputed Domain Names, GGS Ltd. This Panel
  has not been persuaded by the Respondents’ submissions that they have rights or legitimate interests as required and finds rather
  that there are many aspects of the Respondents’ conduct which demonstrate a lack of legitimate and bona fide interest, as set out
  below.

  a. The Respondents’ affiliate, GGS Ltd, only filed cancellation proceedings in respect of the Russian registrations after notification to
  the Respondents of this Complaint, almost four years after registration of the first Disputed Domain Name in connection with this
  matter. The Panel expects that a bona fide legitimate competitor would first apply to cancel trade mark registrations which may place
  it at risk of infringement, before adopting possibly contentious domain names.

  b. The Respondents adopted more than one of the Complainant’s VULKAN trade marks on their websites, namely ВУЛКАН, the
  LIGHTINGBOLT and SEMI­CIRCLE design and the exact blue, red and yellow colour combinations.

  c. The Respondents clearly attempted to align themselves with the Complainant, if reference is had to the translations of text that
  appear on the websites, for example “more than 20 years Slots Volcano” (the Respondents have only been operational for the past 4
  years, whereas the Complainant has operated for the past 20 years), “a gaming brand well known in many countries” (the
  Respondents indicate in their Response that they only target Russia and Ukraine) and “being original and only real club Volcano”.

  It is not in dispute that the Disputed Domain Names are used for commercial gain.

  The Panel is also not persuaded that the third party oppositions that the Respondents provided and the single instance of actual use
  of volcano imagery by a casino in Las Vegas assist the Respondents. The evidence on record is limited to rather bare, official
  opposition documents (some not translated) and not official findings. The Panel would have expected an argument that the
  Complainant’s VULKAN trade marks are common to be supported at least by evidence of use by a significant number of third parties.
  In any event, the fact that the Complainant has been issued with registration certificates for these marks in several territories
  contradict this point of the Respondents.

  Turning to the Respondents’ arguments regarding the Complainant’s acquiescence and implied consent to the Respondents to use
  the VULKAN trade marks, they fall under the doctrine of laches which UDRP panels have generally declined to apply. See for
  example Progman Consulting Oy v. Whois Watchdog, WIPO Case No. D2010­1393, where the Panel states that “It is by now well
  established that trade mark doctrines of laches or estoppel have not been incorporated into the Policy”. See also WIPO Overview 2.0
  at paragraph 4.1. A delay in bringing a complaint under the UDRP may make it more difficult for a complainant to establish its case on
  the merits, particularly where the delay has been substantial. However, the Respondents have not provided any evidence in support
  of the relationship that they allege between the Complainant and the operator of the websites associated with the Disputed Domain
  Names, GGS Ltd, and the period of the delay by the Complainant in filing this Complaint has not been sufficiently substantial, in this
  Panel’s view, to warrant a departure from the general principle indicated above.

  The Panel finds that the Complainant has carried its burden of proof under this Policy heading.

  E. Registered and Used in Bad Faith

  The Respondents registered and set up their websites at a time when the Complainant had an established reputation and
  registrations for its trade marks. They selected not only one aspect of but many versions of the trade marks that the Complainant has
  used and/or registered to promote their gambling services. They clearly have not been unaware of the Complainant’s rights and a
  finding that there has been deliberate targeting of the Complainant by the Respondents seems difficult to avoid.

  The Respondents furthermore also provide gambling services to members of the public in the Russian Federation and Ukraine and
  on their own version, these activities seem to be illegal in the Russian Federation. This further demonstrates the lack of good faith on
  the part of the Respondents.

  The Panel is of the view that the Respondents selected and registered the Disputed Domain Names to reap advantage of the
  Complainant’s reputation and trade marks and, taking all of the circumstances of this case into account, finds that the Disputed
  Domain Names were registered and are in being used in bad faith within the meaning of paragraph 4(b)(iv) of the Policy.

  F. Reverse Domain Name Hijacking

  The Respondents request a finding of Reverse Domain Name Hijacking which is defined as “using the Policy in bad faith in attempt
  to deprive a registered domain name holder of a domain name”. In view of the Panel’s finding under the three elements of the Policy
  the Panel also denies the Respondent’s request.



  7. Decision

  For the foregoing reasons, in accordance with paragraphs 4(i) of the Policy and 15 of the Rules, the Panel orders that the Disputed
  Domain Names <bestvulkan.net>, <moivulcan.com>, <vulkandelux.com>, <vulkandeluxe.com> and <vulkanplay.com> be transferred
  to the Complainant.

  Charné Le Roux
  Presiding Panelist

  Assen Alexiev

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  Panelist

  Paul M. DeCicco
  Panelist

  Date: October 7, 2015




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      WIPO Arbitration and Mediation Center

      ADMINISTRATIVE PANEL DECISION

      Ritzio Purchase Limited v. Andrey Lykov / Rosalinda Corporation / Roy Delcy,
      COUNTSIDE Holding Corp / Registration private, Domains By Proxy, LLC

      Case No. D2016­0633
      1. The Parties

      The Complainant is Ritzio Purchase Limited of Nicosia, Cyprus, represented by Mapa Trademarks SL, Spain.

      The Respondents are Andrey Lykov of Moscow, the Russian Federation / Rosalinda Corporation of Belize, Belize
      / Roy Delcy, COUTNSIDE Holding Corp of Mahe, the Seychelles / Registration private, Domains By Proxy, LLC
      of Scottsdale Arizona, United States of America.

      2. The Domain Names and Registrar

      The disputed domain names <ikvclub.com>, <ikvolcano.com> and <ikvulkan.com> are registered with Wild
      West Domains, LLC (the “Registrar”).

      3. Procedural History

      The Complaint was filed with the WIPO Arbitration and Mediation Center (the “Center”) on April 1, 2016. On
      April 1, 2016, the Center transmitted by email to the Registrar a request for registrar verification in connection
      with the disputed domain names. On April 4, 2016, the Registrar transmitted by email to the Center its
      verification response disclosing registrant and contact information for the disputed domain names which
      differed from the named Respondent and contact information in the Complaint. The Center sent an email
      communication to the Complainant on April 7, 2016 providing the registrant and contact information disclosed
      by the Registrar, and inviting the Complainant to submit an amendment to the Complaint. The Complainant
      filed an amended Complaint on April 8, 2016.

      The Center verified that the Complaint together with the amended Complaint satisfied the formal requirements
      of the Uniform Domain Name Dispute Resolution Policy (the “Policy” or “UDRP”), the Rules for Uniform
      Domain Name Dispute Resolution Policy (the “Rules”), and the WIPO Supplemental Rules for Uniform Domain
      Name Dispute Resolution Policy (the “Supplemental Rules”).

      In accordance with the Rules, paragraphs 2 and 4, the Center formally notified the Respondent of the
      Complaint, and the proceedings commenced on April 12, 2016. In accordance with the Rules, paragraph 5, the
      due date for Response was May 2, 2016. The Respondent did not submit any response. Accordingly, the Center
      notified the Respondent’s default on May 3, 2016.

      The Center appointed Warwick A. Rothnie as the sole panelist in this matter on May 10, 2016. The Panel finds
      that it was properly constituted. The Panel has submitted the Statement of Acceptance and Declaration of
      Impartiality and Independence, as required by the Center to ensure compliance with the Rules, paragraph 7.

      4. Factual Background




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      The Complainant has been providing gaming, casino and entertainment products and services since about
      1992. It has more than 200 branded gaming clubs throughout Europe and more than 5,800 gaming machines.
      It has more than 2,000 employees in Russia, Germany, Romania, Latvia, Belarus, Croatia and Italy. Between
      2006 and 2010, its operating revenues exceeded USD 5.5 billion. It promotional activities include sponsorship
      of the Russian Paralympic team at the 2006 Winter Paralympic Games in Turin.

      According to the Complaint, these activities have been carried on since 1992 under and by reference to VULCAN
      or вулкан (which, according to the Complaint, translates into English as “volcano” or “Vulcan”).

      The Complaint includes evidence of numerous registered trademarks. Examples include:

      (a) Russian Trademark No. 353692, VULKAN, in respect of gaming machines and services, registered from
      November 18, 2005;

      (b) Trademark No 791038, for a stylized version of вулкан, registered from September 3, 2002 in Armenia,
      Azerbaijan, Belarus, Estonia, Georgia, Kyrgyzstan, Kazakhstan, Lithuania, Latvia, Moldova, Tajikstan,
      Turkmenistan, Ukraine and Uzbekistan;

      (c) Community Trademark No. 00989103, VOLCANO, registered from August 11, 2008 for a range of gaming
      machines and services;

      (d) Community Trademark No. 00984297, VULKAN, also registered from August 11, 2008 for a range of
      gaming machines and services; and

      (e) Trademark No. 949162, for a stylized version of “V”, registered from January 26, 2007 in Estonia, Latvia,
      Belarus, Kazakhstan, Lithuania and Ukraine.

      The disputed domain names were registered on, respectively, July 10, 2012, October 4, 2013 and February 16,
      2015. Each resolves, or shortly before the Complaint was initiated resolved, to a web page which appears for all
      practical purposes to be identical. Each of these webpages uses the Complainant’s stylized вулкан trademark,
      otherwise bears a striking resemblance to the Complainant’s websites and purports to offer gaming and other
      entertainment services offered by the Complainant.

      5. Discussion and Findings

      For the reasons discussed in section 5A below, the Panel considers it is appropriate to allow the Complaint to
      proceed against all the Respondents.

      No response has been filed. The Complaint has been served, however, on the physical and electronic coordinates
      confirmed as correct by the Registrar in accordance with paragraph 2(a) of the Rules. Accordingly, the Panel
      finds that the Complaint has been properly served on the Respondents.

      When a respondent has defaulted, paragraph 14(a) of the Rules requires the Panel to proceed to a decision on
      the Complaint in the absence of exceptional circumstances. Accordingly, paragraph 15(a) of the Rules requires
      the Panel to decide the dispute on the basis of the statements and documents that have been submitted and any
      rules and principles of law deemed applicable.

      A. Joinder of multiple Respondents
      The Complainant seeks to have all three disputes joined in one proceeding and dealt with at once.

      The circumstances in which complaints against multiple respondents may be joined in one dispute are
      summarized in WIPO Overview of WIPO Panel Views on Selected UDRP Questions, Second Edition (“WIPO
      Overview 2.0”), paragraph 4.16. Relevant principles and a number of earlier decisions were considered carefully



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      also in Speedo Holdings B.V. v. Programmer, Miss Kathy Beckerson, John Smitt, Matthew Simmons, WIPO
      Case No. D2010­0281.

      From those discussions, it may be observed that the decisions made by UDRP panels have been informed by two
      main considerations. First, recognition that an important objective of the Policy is to resolve disputes falling
      within the purview of the Policy efficiently and expeditiously. Secondly, it is of paramount importance to ensure
      that each respondent is treated fairly and joinder would not be prejudicial.

      Each of the disputed domain names is ostensibly registered in the name of a different person and each of the
      Respondents appears to be located in very different parts of the world. However, each of the disputed domain
      names has been registered through the same Registrar. More importantly, each resolves, or shortly before the
      Complaint was initiated resolved, to a website which provides gambling and gaming services. Each has
      essentially the same get up. Prior to the Complaint being filed, each had the same contact information at the
      bottom of the home page.

      In the present case, therefore, it appears that, despite the facially different registrant names and their
      geographical dispersion, the websites to which the disputed domain names resolve (or resolved) are in fact
      under common control or are being operated by the same person. While the trademarks the Complainant relies
      on are to some extent different they are in the same family, and the considerations arising from those relatively
      minor differences do not impose unduly burdensome issues in this case. Accordingly, the Panel considers that
      joinder will promote the efficient and expeditious resolution of the dispute without prejudicing the fairness or
      equity of the treatment of the Respondents.

      B. Identical or Confusingly Similar
      The first element that the Complainant must establish is that the disputed domain names are identical with, or
      confusingly similar to, the Complainant’s trademark rights.

      There are two parts to this inquiry: the Complainant must demonstrate that it has rights in a trademark and, if
      so, the disputed domain names must be shown to be identical or confusingly similar to the trademark.

      The Complainant has proven ownership of the registered trademarks VULKAN, VOLCANO, the stylized version
      of вулкан and the stylized “V” referred to above. The Complainant has also presented evidence showing that the
      stylized versions of вулкан and “V” have been used prominently on its gaming establishments in countries
      which use the Cyrillic alphabet.

      The first disputed domain name (<ikvulkan.com>) differs from the Complainant’s trademark VULKAN by the
      prefix “ik” and the addition of the generic Top Level Domain (“gTLD”), “.com”. The latter component may be
      disregarded as a functional aspect of the domain name system: WIPO Overview 2.0, paragraph 1.2.

      The Panel would not ordinarily consider that the prefixing of the sign VULKAN with the letters “ik” would be
      sufficient to avoid a finding of confusing similarity. In the present case, the Complainant points out that the
      letters “ik” are a transliteration into Roman characters of the initials of the words in Russian for “gaming hall”.
      The use of those letters, therefore, reinforces the potential for association with the activities covered by the
      Complainant’s registered trademark and for which it uses its VULKAN trademark.

      The same reasoning applies to the second disputed domain name (<ikvolcano.com>) and the Complainant’s
      VOLCANO trademark.

      The third disputed domain name (<ikvclub.com>) is not as straightforward as often a sign consisting of three
      letters could apply to quite a diverse range of activities and entities. In the present case, however, the
      Complainant has a registered trademark for a stylized “V”. When comparing that to a domain name, it would




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      normally be represented as a “V”. Bearing in mind the significance of “ik” in this context, therefore, the Panel
      considers that the Complainant has satisfied the standing requirement in relation to the third disputed domain
      name as well.

      Accordingly, the Panel finds that the Complainant has established that the disputed domain names are
      confusingly similar to the Complainant’s trademarks and the requirement under the first limb of the Policy is
      satisfied.

      C. Rights or Legitimate Interests
      The second requirement the Complainant must prove is that the Respondents have no rights or legitimate
      interests in each of the disputed domain names.

      Paragraph 4(c) of the Policy provides that the following circumstances can be situations in which a respondent
      has rights or legitimate interests in a disputed domain name:

      (i) before any notice to [the Respondent] of the dispute, [the respondent’s] use of, or demonstrable preparations
      to use, the [disputed] domain name or a name corresponding to the [disputed] domain name in connection
      with a bona fide offering of goods or services; or

      (ii) [the respondent] (as an individual, business, or other organization) has been commonly known by the
      [disputed] domain name, even if [the Respondent] has acquired no trademark or service mark rights; or

      (iii) [the respondent] is making a legitimate noncommercial or fair use of the [disputed] domain name, without
      intent for commercial gain to misleadingly divert consumers or to tarnish the trademark or service mark at
      issue.

      These are illustrative only and are not an exhaustive listing of the situations in which a respondent can show
      rights or legitimate interests in a domain name.

      The onus of proving this requirement, like each element, falls on the Complainant. Panels have recognized the
      difficulties inherent in proving a negative, however, especially in circumstances where much of the relevant
      information is in, or likely to be in, the possession of the respondent. Accordingly, it is usually sufficient for a
      complainant to raise a prima facie case against the respondent under this head and an evidential burden will
      shift to the respondent to rebut that prima facie case. See e.g., paragraph 2.1 of the WIPO Overview 2.0.

      The Complainant states that it has not authorised any of the Respondents to use any of the disputed domain
      names. Nor are any of the Respondents in any way affiliated with it. None of the disputed domain names is
      obviously derived from any of the Respondents’ names.

      Prior to the Complaint being initiated, each of the disputed domain names resolved to a gambling or gaming
      website which purported to be a website operated by the owner of the Complainant’s trademarks. Such use does
      not qualify as use in good faith under the Policy.

      In these circumstances, the Complainant has established a clear prima facie case that the Respondents have no
      rights or legitimate interests in any of the disputed domain names. The Respondents have not sought to rebut
      that prima facie case. Accordingly, the Panel finds the Complainant has established the second requirement
      under the Policy.

      D. Registered and Used in Bad Faith
      Under the third requirement of the Policy, the Complainant must establish that each disputed domain name
      has been both registered and used in bad faith: see e.g., Burn World­Wide, Ltd. d/b/a BGT Partners v. Banta
      Global Turnkey Ltd, WIPO Case No. D2010­0470.




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      Generally speaking, a finding that a domain name has been registered and is being used in bad faith requires an
      inference to be drawn that the respondent in question has registered and is using the disputed domain name to
      take advantage of its significance as a trademark owned by a third party (usually) such as the complainant.

      Those inferences may be drawn readily in the present case. The terms “volcano”, or “Vulcan” or the letter “V” do
      not have any descriptive or semiotic meaning in association with gaming and gambling services other than
      through their adoption and long use by the Complainant in respect of its establishments and services.
      Accordingly, the Panel finds that the Complainant has established the third requirement under the Policy also.

      6. Decision

      For the foregoing reasons, in accordance with paragraphs 4(i) of the Policy and 15 of the Rules, the Panel orders
      that the disputed domain names <ikvclub.com>, <ikvolcano.com> and <ikvulkan.com> be transferred to the
      Complainant.

      Warwick A. Rothnie
      Sole Panelist
      Date: May 23, 2016




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                             WIPO Arbitration and Mediation Center


                                                     ADMINISTRATIVE PANEL DECISION
                                   Ritzio Purchase Limited v. Twist Services LTD, Twist International
                                                                Case No. D2016­0967



  1. The Parties

  The Complainant is Ritzio Purchase Limited of Nicosia, Cyprus, represented by Mapa Trademarks SL, Spain.

  The Respondent is Twist Services LTD of Limassol, Cyprus and Twist International of Belize City, Belize.



  2. The Domain Names and Registrars

  The disputed domain names <casinovulkan.info>, <mybestvulkan.com>, <vulkangames.info>, <vulkan­gamez.com>,
  <vulkanimgs.com>, <vulkanochance.com>, <vulkanogames.com>, <vulkanogamez.com>, <vulkanopartner.net>, <vulkanoplay.com>,
  and <vulkanwin.info> are registered with Moniker Online Services, LLC (the "Registrar").



  3. Procedural History

  The Complaint was filed with the WIPO Arbitration and Mediation Center (the "Center") on May 14, 2016. On May 17, 2016, the
  Center transmitted by email to the Registrar a request for registrar verification in connection with the disputed domain names. On May
  18, 2016, the Registrar transmitted by email to the Center its verification response confirming that the Respondent is listed as the
  registrant and providing the contact details.

  The Center verified that the Complaint satisfied the formal requirements of the Uniform Domain Name Dispute Resolution Policy (the
  "Policy" or "UDRP"), the Rules for Uniform Domain Name Dispute Resolution Policy (the "Rules"), and the WIPO Supplemental Rules
  for Uniform Domain Name Dispute Resolution Policy (the "Supplemental Rules").

  In accordance with the Rules, paragraphs 2 and 4, the Center formally notified the Respondent of the Complaint, and the
  proceedings commenced on May 25, 2016. In accordance with the Rules, paragraph 5, the due date for Response was June 14,
  2016. The Respondent sent an email communication to the Center on May 25, 2016. The Center sent an email communication to the
  Parties on May 26, 2016, referencing the Respondent's communication and inviting the Parties to explore settlement options. The
  Complainant did not file a suspension request before the Center and the Center notified the commencement of panel appointment on
  June 16, 2016.

  The Center appointed Christos A. Theodoulou as the sole panelist in this matter on June 29, 2016. The Panel finds that it was
  properly constituted. The Panel has submitted the Statement of Acceptance and Declaration of Impartiality and Independence, as
  required by the Center to ensure compliance with the Rules, paragraph 7.



  4. Factual Background

  The Complainant for more than 20 years, since about 1992, has been in the business of providing gaming, casino, and entertainment
  products and services and other related products and services under the known By­κaH (which means in English "volcano" or
  "vulkan") and Vulkan brands.

  According to the uncontested allegations of the Complainant, his operating revenue, between 2006 and 2010, was in excess of USD
  5.5 billion.

  The VULKAN and VOLCANO marks are registered, inter alia, long before the registration of the disputed domain names, in the
  Russian Federation, Latvia, Armenia, Belarus, Germany, Romania, Croatia, Italy, and the European Union, with the earliest mark
  registration on September 2, 2002.

  The disputed domain names were registered in 2013 (1 domain name), 2014 (1 domain name) and 2015‑2016 (9 domain names).
  They are used in connection with functional online casinos.



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  5. Parties' Contentions

  A. Complainant

  The Complainant contends that the disputed domain names are identical or confusingly similar to trademarks or service marks in
  which the Complainant has rights, that the Respondent has no rights or legitimate interests in the disputed domain names and that
  the Respondent registered and is using the disputed domain names in bad faith.

  B. Respondent

  The Respondent did not reply to the substance of the Complainant's contentions. It sent an email to the Center on May 25, 2016
  saying that "they want to work legally under the name Vulkan". The Center sent an email to the Parties regarding the possibility of
  engaging in settlement discussions. The Parties did not request suspension for such purpose and the Center went on with the
  proceeding. No further communication by the Respondent was submitted to the Center.



  6. Discussion and Findings

  A. Joinder of multiple Respondents

  The Complainant requests and asks to have the disputes against the two different Respondents joined in one proceeding. In the
  WIPO Overview of WIPO Panel Views on Selected UDRP questions, Second Edition ("WIPO, Overview, 2.0") paragraph 4.16 the
  question of consolidation of a case against multiple Respondents is discussed mentioning earlier decisions. According to paragraph
  4.16 of the WIPO Overview 2.0, a consolidation against more than one Respondents may be allowed where (i) the disputed domain
  names or the websites to which they resolve are subject to common control and (ii) the consolidation would be fair and equitable to
  all parties. There are many relevant decisions such as Speedo Hodings B.V. v. Programmer, Miss Kathy Beckerson, John Smitt,
  Matthew Simmons, WIPO Case No. D2010­0281; Ritzio Purchase Limited v. Legato LLC / V. Zaharchenko / Jimmy McColin /
  Chernovsky Vladimir Sergeevich / Domain Admin, PrivacyProtect.org, WIPO Case No. D2015­1182; Ritzio Purchase Limited v.
  Andrey Lykov / Rosalinda Corporation / Roy Delcy, COUNTSIDE Holding Corp / Registration private, Domains By Proxy, LLC, WIPO
  Case No. D2016­0633.

  The Complainant says that the conditions required for consolidation of the case against the two Respondents are satisfied. It
  contends that there is only one real Respondent who controls all domain names in dispute. Further, the websites are cross­
  connected and they are controlled by the one same owner/person. Also, it is submitted that the consolidation will be fair and
  equitable to all parties. Accordingly, the Panel considers that consolidation is appropriate in this case.

  Before engaging in the threefold discussion of paragraph 4(a) of the Policy, the Panel will briefly address the procedural issue
  relating to the Respondent's failure to submit a substantive response. The Complainant has the burden of proof, according to
  paragraph 4(a) of the Policy ("In the administrative proceeding, the complainant must prove that each of these three elements are
  present"). As such, the Panel can not merely grant the Complainant's request automatically, but it has to examine instead the
  evidence presented to determine whether or not the Complainant has proved its case, as required by the Policy. See FNAC v.
  Gauthier Raymond, WIPO Case No. D2004­0881; Sonofon A/S v. Vladimir Aleksic, WIPO Case No. D2007‑0668; Gaudi Trade SpA v.
  Transure Enterprise Ltd, WIPO Case No. D2009­1028.

  The Panel shall now proceed to the analysis of the evidence in this case, in accordance with the three elements of paragraph 4(a) of
  the Policy.

  B. Identical or Confusingly Similar

  The Complainant has presented evidence to demonstrate that he owns registered trademark rights in the marks VULKAN, VOLCANO
  and By­κaH and that they have been actively using these marks since 1992.

  The mere fact that the Respondent has added to the disputed domain names generic words like "mybest", words which relate to the
  business of the Complainant like "casino", "games", "gamez", "chance", "partner", "play", "win", and the generic top­Level Domains
  ("gTLDs") ".com", ".info", and ".net", do not affect in the present case the essence of the matter: the disputed domain names are
  confusingly similar to the trademarks of the Complainant and, in the circumstances of this case, is by itself sufficient to fulfil the first
  criteria of the Policy, as many previous UDRP panels have found. See e.g., Oki Data Americas, Inc. v. ASD, Inc., WIPO Case No.
  D2001­0903; Koninklijke Philips Electronics N.V. v. K. Harjani Electronics Ltd., WIPO Case No. D2002­1021; DFDS A/S v. NOLDC
  INC, WIPO Case No. D2006­1070; American Automobile Association, Inc. v. Bladimir Boyiko and Andrew Michailov, WIPO Case No.
  D2006­0252; Nationwide Mutual Insurance Company v. Whois Agent, Whois Privacy Protection Service, Inc./Zhichao Yang, WIPO
  Case No. D2015‑1129; Facebook, Inc., v. on behalf of customers, WIPO Case No. D2016­0244; Ritzio Purchase Limited v. Legato
  LLC / V. Zaharchenko / Jimmy McColin / Chernovsky Vladimir Sergeevich / Domain Admin, PrivacyProtect.org, WIPO Case No.
  D2015­1182; Ritzio Purchase Limited v. Andrey Lykov / Rosalinda Corporation / Roy Delcy, COUNTSIDE Holding Corp / Registration
  private, Domains By Proxy, LLC, WIPO Case No. D2016­0633.

  In view of the above, the Panel finds that the Complainant has discharged its burden of proof on this point and holds that the disputed
  domain names <casinovulkan.info>, <mybestvulkan.com>, <vulkangames.info>, <vulkan­gamez.com>, <vulkanimgs.com>,
  <vulkanochance.com>, <vulkanogames.com>, <vulkanogamez.com>, <vulkanopartner.net>, <vulkanoplay.com> and
  <vulkanwin.info>, are confusingly similar to the Complainant's trademarks VULKAN and VOLCANO.

  C. Rights or Legitimate Interests


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  Paragraph 4(c) of the Policy provides a non­exhaustive list of circumstances which, if found by a panel to be proved based on its
  evaluation of the evidence presented, shall demonstrate a registrant's right to or legitimate interest in a domain name. These
  examples are discussed in turn below, with regard to the specific facts of this case.

  (i) Use or demonstrable preparations to use the disputed domain names in connection with a bona fide offering of goods or services
  prior to the dispute. In the Panel's opinion the Respondent is not making a bona fide offering of its goods. In fact, the Respondent is
  using the disputed domain names to divert traffic from the Complainant's websites, which is not a bona fide offering of goods and
  services.

  (ii) An indication that the Respondent has been commonly known by the disputed domain names, even if it has acquired no
  trademark rights; in this case, there is no such indication from the present record.

  (iii) Legitimate noncommercial or fair use of the disputed domain names without intent for commercial gain to misleadingly divert
  consumers or to tarnish the trademarks at issue; again, in this case there is no such indication from the record.

  The Respondent does not seem to have any trademark registrations including the terms "Vulkan", "Volcano" "By­κaH". Additionally, it
  is to be noted that the Respondent did not present evidence of any license by the Complainant, with whom there seems to exist no
  relationship whatsoever.

  As a conclusion on this point, the Panel finds that the Complainant has established an uncontested, prima facie case that the
  Respondent has no rights or legitimate interests in respect of the disputed domain names, and that the Respondent has not rebutted
  such prima facie case. Therefore, the Panel finds that the Complainant has satisfied paragraph 4(a)(ii) of the Policy.

  D. Registered and Used in Bad Faith

  In reviewing the present case, it appears that the Respondent has registered the disputed domain names in bad faith.

  The Panel finds it highly unlikely that the Respondent would register randomly and unintentionally the 11 disputed domain names
  that are confusingly similar to the Complainant's VULKAN and VOLCANO trademarks. Further, the websites at the disputed domain
  names either incorporate graphical elements containing the Complainant's design mark or else redirect to third­party casino services.
  Rather, on a reasonable examination of the evidence, it seems to this Panel more likely that such registrations and use would be
  motivated by a hoped­for capitalization, i.e., commercial gain from the Complainant's reputation.

  The Complainant is well­known in the business of casino and games and the Respondent tried to gain from its reputation. Further,
  the fact that the Respondent wrote on May 25, 2016 asking to work legally under the name Vulkan, implies to the Panel that the
  Respondent considered his position was not legally correct since he wanted to find a legal way to operate. This is also evidence of
  bad faith registration and use.

  The Panel also notes that the Respondent has not addressed the Complainant's contentions, which in the present circumstances
  "reinforces the inference of bad faith registration and bad faith use". The Hongkong and Shanghai Banking Corporation Limited v. Bill
  Lynn, WIPO Case No. D2001­0915.

  As a consequence of the above, the Panel finds that the Respondent registered and is using the disputed domain names in bad faith.



  7. Decision

  For the foregoing reasons, in accordance with paragraphs 4(i) of the Policy and 15 of the Rules, the Panel orders that the disputed
  domain names, <casinovulkan.info>; <mybestvulkan.com>; <vulkangames.info>; <vulkan­gamez.com>; <vulkanimgs.com>;
  <vulkanochance.com>; <vulkanogames.com>; <vulkanogamez.com>; <vulkanopartner.net>; <vulkanoplay.com>; and
  <vulkanwin.info> be transferred to the Complainant.

  Christos A. Theodoulou
  Sole Panelist
  Date: July 11, 2016




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